USCA11 Case: 22-11232   Document: 19   Date Filed: 06/14/2022   Page: 1 of 72



                        Case No. 22-11232-AA

        IN THE UNITED STATES COURT OF APPEALS
               FOR THE ELEVENTH CIRCUIT

 DAVID WILLIAMS, individually and on behalf of all others similarly
situated, CAROLL ANGLADE, individually and on behalf of all others
 similarly situated, HOWARD CLARK, THOMAS MATTHEWS, and
                       MARTIZA ANGELES,
                        Plaintiffs-Appellees,
                                  v.
      RECKITT BENCKISER LLC and RB HEALTH (US) LLC,
                       Defendants-Appellees,

                        THEODORE H. FRANK,
                          Objector-Appellant.

            Appeal from the United States District Court
                for the Southern District of Florida

                        No. 1:20-cv-23564-MGC

         Appellant Theodore H. Frank’s Opening Brief

                                   Theodore H. Frank
                                   John M. Andren
                                   HAMILTON LINCOLN LAW CENTER
                                   CENTER FOR CLASS ACTION FAIRNESS
                                   1629 K Street NW, Suite 300
                                   Washington, DC 20006
                                   (703) 203-3848
                                   ted.frank@hlli.org
                                   Attorneys for Objector-Appellant
                                   Theodore H. Frank
 USCA11 Case: 22-11232      Document: 19   Date Filed: 06/14/2022   Page: 2 of 72




     Certificate of Interested Persons and Corporate Disclosures

       Under Cir. R. 28-1(b) and Fed. R. App. P. 26.1, Theodore H. Frank
declares that he is an individual and, as such, is not a subsidiary or

affiliate of a publicly owned corporation and there is no publicly held
corporation that owns ten percent or more of any stock issued by him.
       Under Cir. R. 28-1(b) and Cir. R. 26.1-2, the following trial judges,

attorneys, persons, association of persons, firms, partnerships, and
corporations are believed to have an interest in the outcome of this case
or appeal:

1.     Andren, John M., Hamilton Lincoln Law Institute, Attorney for
       Objector-Appellant
2.     Angeles, Martiza, Plaintiff-Appellee

3.     Anglade, Caroll, Plaintiff-Appellee
4.     Barbat Mansour & Suciu, PLLC, Attorneys for Plaintiffs-
       Appellees

5.     Becker & Poliakoff, PA, Attorneys for Amicus TINA
6.     Bednarz, M. Frank, Hamilton Lincoln Law Institute, Attorney for
       Objector-Appellant

7.     Biderman, David T., Perkins Coie LLP, Attorney for Defendants-
       Appellees
8.     Bilzin Sumberg Baena Price & Axelrod, LLP, Attorneys for

       Defendants-Appellees


                                   C-1 of 4
 USCA11 Case: 22-11232   Document: 19     Date Filed: 06/14/2022   Page: 3 of 72



9.    Bursor & Fisher, PA, Attorneys for Plaintiffs-Appellees
10.   Bryson, Daniel K., Whitfield Bryson LLP, Attorney for Plaintiffs-

      Appellees
11.   Clark, Howard, Plaintiff-Appellee
12.   Cohen, Jonathan Betten, Milberg Coleman Bryson Phillips

      Grossman, PLLC, Attorney for Plaintiffs-Appellees
13.   Coleman, Gregory, Milberg Coleman Bryson Phillips Grossman,
      PLLC, Attorney for Plaintiffs-Appellees

14.   Cooke, The Honorable Marcia G., United States District Judge
15.   Dhillon Law Group, Inc., Attorneys for Objector-Appellant
16.   Drescher, IIana Arnowitz, Bilzin Sumberg Baena Price & Axelrod,

      LLP, Attorney for Defendants-Appellees
17.   Drozd, Dale A., United States District Court Judge
18.   Fisher, L. Timothy, Bursor & Fisher, PA, Attorney for Plaintiffs-

      Appellees
19.   Frank, Theodore H., Objector-Appellant and attorney for Objector-
      Appellant

20.   Geer, Martha, Milberg Coleman Bryson Phillips Grossman, PLLC,
      Attorney for Plaintiffs-Appellees
21.   Grosjean, The Honorable Erin, United States Magistrate Judge

22.   Goodman, The Honorable Jonathan, United States Magistrate
      Judge
23.   Greg Coleman Law PC, Attorneys for Plaintiffs-Appellees


                                 C-2 of 4
 USCA11 Case: 22-11232     Document: 19   Date Filed: 06/14/2022   Page: 4 of 72



24.   Hamilton Lincoln Law Institute, Attorneys for Objector-Appellant
25.   Levin Papantonio Rafferty, Attorneys for Plaintiffs-Appellees

26.   Lustrin, Lori P., Bilzin Sumberg Baena Price & Axelrod, LLP,
      Attorney for Defendants-Appellees
27.   Matthews, Thomas, Plaintiff-Appellee

28.   Milberg Coleman Bryson Phillips Grossman, PLLC, Attorneys for
      Plaintiffs-Appellees
29.   Pallett-Vasquez, Melissa, Bilzin Sumberg Baena Price & Axelrod,

      LLP, Attorney for Defendants-Appellees
30.   Perkins Coie LLP, Attorneys for Defendants-Appellees
31.   Polenberg, Jon, Becker & Poliakoff, PA, Attorney for Amicus TINA

32.   RB Health (US) LLC, Defendant
33.   Reckitt Benckiser, LLC, Defendant, (Stock ticker: “RBGLY”)
34.   Sarelson, Matthew Seth, Dhillon Law Group, Inc., Attorney for

      Objector-Appellant
35.   Schultz, Matthew D., Levin Papantonio Rafferty, Attorney for
      Plaintiffs-Appellees

36.   Shub, Jonathan, Shub Law Firm LLC, Attorney for Plaintiffs-
      Appellees
37.   Shub Law Firm LLC, Attorneys for Plaintiffs-Appellees

38.   Sipos, Charles C., Perkins Coie, LLP, Attorney for Defendants-
      Appellees
39.   Smith, Laura, Attorney for Amicus TINA


                                  C-3 of 4
 USCA11 Case: 22-11232   Document: 19   Date Filed: 06/14/2022   Page: 5 of 72



40.   Soffin, Rachel, Milberg Coleman Bryson Phillips Grossman,
      PLLC, Attorney for Plaintiffs-Appellees Stanier, Lauren Watts,

      Perkins Coie, LLP, Attorney for Defendants-Appellees
41.   Suciu III, Nick, Milberg Coleman Bryson Phillips Grossman,
      PLLC, Attorney for Plaintiffs-Appellees

42.   Truth in Advertising, Inc., Amicus
43.   Wallace, Patrick M., Milberg Coleman Bryson Phillips Grossman,
      PLLC, Attorney for Plaintiffs-Appellees

44.   Whitfield Bryson LLP, Attorneys for Plaintiffs-Appellees
45.   Williams, David, Plaintiff-Appellee


Dated: June 14, 2022              /s/ Theodore H. Frank
                                  Theodore H. Frank
                                  John M. Andren
                                  HAMILTON LINCOLN LAW INSTITUTE
                                  CENTER FOR CLASS ACTION FAIRNESS
                                  1629 K Street NW, Suite 300
                                  Washington, DC 20006
                                  Telephone: (703) 203-3848
                                  Email: ted.frank@hlli.org

                                  Attorneys for Objector-Appellant
                                  Theodore H. Frank




                                C-4 of 4
 USCA11 Case: 22-11232    Document: 19   Date Filed: 06/14/2022   Page: 6 of 72




              Statement in Support of Oral Argument

     As Cir. R. 28-1(c) permits, Appellant Theodore H. Frank
respectfully requests that the Court hear oral argument because it

presents significant issues about class certification and settlement. These
issues, on the requirements of Rule 23, are meritorious, and pit the
district court’s decision against the plain text of the Rule and the

decisions of other Circuits.
     This appeal raises complex but recurring questions of civil
procedure; their exploration at oral argument would aid this Court’s

decisional process and benefit the judicial system. Frank’s firm has
argued and won landmark appellate rulings improving the fairness of
class-action settlement procedure and class certification. E.g., In re

Stericycle Sec. Litig., __ F.4th __, 2022 U.S. App. LEXIS 13414, *37 n.11
(7th Cir. May 18, 2022) (citing cases); McKinney-Drobnis v. Oreshack, 16
F.4th 594, 609 (9th Cir. 2021); Briseño v. Henderson, 998 F.3d 1014 (9th

Cir. 2021); Pearson v. NBTY, Inc., 772 F.3d 778 (7th Cir. 2014); Redman
v. RadioShack Corp., 768 F.3d 622 (7th Cir. 2014); In re Dry Max
Pampers Litig., 724 F.3d 713 (6th Cir. 2013); In re Baby Prods. Antitrust

Litig., 708 F.3d 163 (3d Cir. 2013); In re Bluetooth Headset Prod. Liab.
Litig., 654 F.3d 935 (9th Cir. 2011); see also Adam Liptak, When Lawyers
Cut Their Clients Out of the Deal, N.Y. TIMES, Aug. 13, 2013 (calling

Frank “[t]he leading critic of abusive class action settlements”). Frank is


                                     i
 USCA11 Case: 22-11232    Document: 19    Date Filed: 06/14/2022   Page: 7 of 72



an experienced appellate advocate and a member of the American Law
Institute; he has argued before the Supreme Court. A favorable

resolution here would improve the class-action process by deterring other
class-action settlements designed to benefit attorneys at the expense of
their putative clients.




                                     ii
 USCA11 Case: 22-11232               Document: 19          Date Filed: 06/14/2022          Page: 8 of 72




                                       Table of Contents
Certificate of Interested Persons and Corporate Disclosures .................. 1
Statement in Support of Oral Argument ................................................... i
Table of Contents .................................................................................... iii
Table of Citations ...................................................................................... v
Jurisdictional Statement......................................................................... xii
Statement of the Issues ............................................................................. 1
Statement of the Case ............................................................................... 3
        A.      Plaintiffs sue over Neuriva label. ........................................... 3
        B.      The parties agree to a claims-made settlement with
                clear sailing for fees. ............................................................... 4
        C.      Frank objects. .......................................................................... 5
        D.      The magistrate judge recommends approving the
                settlement, while failing to address several of Frank’s
                objections. ................................................................................ 8
        E.      The district court adopts the Report and
                Recommendation without addressing any of Frank’s
                objections. ................................................................................ 9
        F.      Standard of Review ................................................................. 9
Summary of Argument ............................................................................ 12
Argument ................................................................................................. 14
I.      Because of class-action settlements’ agency problems, courts
        and Rule 23(e)(2)(C) recognize the need for scrutiny to
        prevent class counsel from self-dealing at the expense of
        absent class members. It is not enough that a settlement be
        large enough. The settling parties must also allocate benefits
        fairly to satisfy Rule 23. ................................................................. 14
        A.      The district court erred as a matter of law when it
                failed to address Rule 23(e)(2)(C) factors not listed in
                Bennett. .................................................................................. 14


                                                     iii
 USCA11 Case: 22-11232               Document: 19         Date Filed: 06/14/2022          Page: 9 of 72



        B.      Rule 23(e)(2)(C) requires courts to be wary of the
                allocation of a class-action settlement. ................................. 16
        C.      Settlements may contain illusory relief that obscures
                the true allocation of the class relief. ................................... 18
II.     The settlement approval cannot stand as a matter of law
        because class counsel negotiated $2.9 million for themselves
        in a settlement where the class receives only $1.1 million. .......... 23
        A.      Disproportionate allocation violates Rule 23(e)(2)(C)
                even without a showing of actual collusion. ......................... 23
        B.      A settlement that pays class members $1,100,000 is
                not worth the $8 million putatively “made available”;
                the district court erred under Rule 23(e)(2)(C)(ii)
                holding otherwise. ................................................................. 31
III.    The injunction to replace a few words in Neuriva’s future
        marketing does not direct relief to the class, so cannot
        support final approval of the settlement. ...................................... 37
        A.      Prospective injunctive relief must benefit the class—
                not hypothetical future consumers, much less RB’s
                competitors. ........................................................................... 39
        B.      That the lawsuit precipitated an injunction is not
                enough—the injunction must be valuable to the class......... 49
Conclusion ............................................................................................... 52
Addendum of Statutes and Rules ........................................................... 53
Certificate of Compliance ........................................................................ 54




                                                     iv
USCA11 Case: 22-11232            Document: 19        Date Filed: 06/14/2022       Page: 10 of 72



                                    Table of Citations
Cases

Alyeska Pipeline Serv. Co. v. Wilderness Soc’y,
     421 U.S. 240 (1975) ........................................................................ 40

In re Baby Prods. Antitrust Litig.,
      708 F.3d 163 (3d Cir. 2013) ........................................................ 6, 36

Bankers Trust Co. v. Mallis,
    435 U.S. 381, 98 S. Ct. 1117 (1978)................................................ xii

Bennett v. Behring Corp.,
    737 F.2d 982 (11th Cir. 1984) ............................................. 14-15, 45

In re Bluetooth Headset Prod. Liab. Litig.,
      654 F.3d 935 (9th Cir. 2011) ............... 6, 18-19, 22, 25-27, 29, 41-42

Boeing v. Van Gemert,
     444 U.S. 472 (1980) ................................................................... 31-33

*Briseño v. Henderson,
     998 F.3d 1014 (9th Cir. 2021) ................................................ passim

Camden I Condominium Ass’n, Inc. v. Dunkle,
    946 F.2d 768 (11th Cir. 1991) .................................................. 19, 28

In re Carrier iQ, Inc. Consumer Privacy Litig.,
      No. 12-md-02330-EMC,
      2016 WL 4474366 (N.D. Cal. Aug. 25, 2016) ................................. 20

Citizens for Police Accountability Political Comm. v. Browning,
      572 F.3d 1213 (11th Cir. 2009) ...................................................... 10

Day v. Persels & Assocs., LLC,
     729 F.3d 1309 (11th Cir. 2013) ...................................................... 10

Dennis v. Kellogg, Inc.,
    697 F.3d 858 (9th Cir. 2012) .......................................................... 28




                                                 v
USCA11 Case: 22-11232             Document: 19         Date Filed: 06/14/2022       Page: 11 of 72



Devlin v. Scardelletti,
     536 U.S. 1 (2002) ............................................................................ xii

*In re Dry Max Pampers Litig.,
      724 F.3d 713 (6th Cir. 2013)
      .................................................... 6, 8-9, 13, 16-18, 22, 24, 29, 39, 46

Eubank v. Pella Corp.,
    753 F.3d 718 (7th Cir. 2014) .................................................... 26, 36

Faught v. Am. Home Shield Corp.,
    668 F.3d 1233 (11th Cir. 2011) ................................................. 42-45

In re GMC Pick-Up Truck Fuel Tank Prods. Liab. Litig.,
      55 F.3d 768 (3d Cir. 1995) .................................................. 10, 25, 29

Glasser v. Volkswagen of Am., Inc.,
     645 F.3d 1084 (9th Cir. 2011) ........................................................ 26

Hanlon v. Chrysler Corp.,
    150 F.3d 1011 (9th Cir. 1998) ........................................................ 42

In re Home Depot Inc., Customer Data Sec. Breach Litig.,
      931 F.3d 1065 (11th Cir. 2019) ................................................. 29-30

Holmes v. Continental Can Co.,
    706 F.2d 1144 (11th Cir. 1983) ................................................ 10, 31

Janicijevic v. Classica Cruise Operator, Ltd.,
     No. 20-cv-23223, 2021 U.S. Dist. LEXIS 95561
     (S.D. Fla. May 19, 2021) ................................................................. 45

*Johnson v. NPAS Sols, LLC,
    975 F.3d 1244 (11th Cir. 2020) ....................... 2, 9-11, 13, 15, 24, 38

In re Katrina Canal Breaches Litig.,
      628 F.3d 185 (5th Cir. 2010) .......................................................... 37

Kim v. Allison,
     8 F.4th 1170 (9th Cir. 2021) ........................................................... 17



                                                  vi
USCA11 Case: 22-11232            Document: 19         Date Filed: 06/14/2022       Page: 12 of 72



Koby v. ARS Nat’l Servs.,
     846 F.3d 1071 (9th Cir. 2017) ........................................................ 47

Koon v. United States,
     518 U.S. 81 (1996) .......................................................................... 10

Luevano v. Wal-Mart Stores, Inc.,
    722 F.3d 1014 (7th Cir. 2013) ........................................................ xii

Marek v. Lane,
    571 U.S. 1003 (2013) ...................................................................... 48

McDonough v. Toys “R” Us,
    80 F. Supp. 3d 626 (E.D. Pa. 2015) ................................................ 36

McKinney-Drobnis v. Oreshack,
    16 F.4th 594 (9th Cir. 2021) ........................................................... 30

McNamara v. Gov’t Emps. Ins. Co.,
    30 F.4th 1055 (11th Cir. 2022) ................................................. 33, 50

Mertinez-Mendoza v. Champion Int’l Corp.,
     340 F.3d 1200 (11th Cir. 2003) ...................................................... xii

*Pearson v. NBTY, Inc.,
     772 F.3d 778 (7th Cir. 2014)
     .............................................6, 8, 12, 17-18, 20, 22, 25-28, 30, 36, 48

Pearson v. Target Corp.,
     No. 1:11-cv-07972, Dkt. 288 (N.D. Ill. Aug. 25, 2016) ................... 37

Pettway v. Am. Cast Iron Pipe Co.,
     576 F.2d 1157 (5th Cir. 1978) ................................................... 16-17

Piambino v. Bailey,
    757 F.2d 1112 (11th Cir. 1985) ......................... 14-17, 23, 25, 36, 40

Poertner v. Gillette Co.,
     618 F. App’x 624 (11th Cir. 2015) ................................. 31, 33, 49-51




                                                vii
USCA11 Case: 22-11232            Document: 19         Date Filed: 06/14/2022     Page: 13 of 72



Poertner v. Gillette Co.,
     No. 6:12-cv-803, 2014 WL 4162771,
     2014 U.S. Dist. LEXIS 116616 (M.D. Fla. Aug. 21, 2014) ............. 33

Public Health Trust of Dade Cty., Fla. v. Lake Aircraft, Inc.,
     992 F.2d 291 (11th Cir. 1993) ........................................................ 31

Redman v. RadioShack Corp.,
    768 F.3d 622 (7th Cir. 2014) .................................................... 19, 28

Roes v. SFBSC Mgmt., LLC,
     944 F.3d 1035 (9th Cir. 2019) ...................................... 18, 20, 22, 24

In re Samsung Top-Load Washing Machine Mktg., Sales Practices
      & Prods. Liab. Litig.,
      997 F.3d 1077 (10th Cir. 2021) ................................................ 28, 31

Shady Grove Orthopedic Assocs. v. Allstate Ins. Co.,
    559 U.S. 393 (2010) ........................................................................ 40

Silverman v. Motorola, Inc.,
      739 F.3d 956 (7th Cir. 2013) .......................................................... 26

In re Southwest Air. Voucher Litig.,
      898 F.3d 740 (7th Cir. 2018) ............................................................ 7

Staton v. Boeing Co.,
     327 F.3d 938 (9th Cir. 2003) .................................................... 21, 25

In re Stericycle Sec. Litig.,
      __ F.4th __,
      2022 U.S. App. LEXIS 13414 (7th Cir. May 18, 2022) .................... 6

*Synfuel Technologies, Inc. v. DHL Express (USA), Inc.,
     463 F.3d 646 (7th Cir. 2006) .............................................. 13, 39, 46

In re TD Ameritrade Accountholder Litig.,
      266 F.R.D. 418 (N.D. Cal. 2009) .................................................... 42

Tyson Foods, Inc. v. Bouaphakeo,
     136 S. Ct. 1036 (2016) ............................................................... 40-41


                                               viii
USCA11 Case: 22-11232              Document: 19          Date Filed: 06/14/2022         Page: 14 of 72



United States v. Irey,
     612 F.3d 1160 (11th Cir. 2010) (en banc) ....................................... 10

Wal-Mart Stores, Inc. v. Visa U.S.A., Inc.,
    396 F.3d 96 (2d Cir. 2005) .............................................................. 35

Waters v. Int’l Precious Metals Corp.,
    190 F.3d 1291 (11th Cir. 1999) ................................................. 31-32

Wilson v. EverBank,
     No. 14-CIV-22264, 2016 U.S. Dist. LEXIS 15751
     (S.D. Fla. Feb. 3, 2016) ................................................................... 45



Rules and Statutes

28 U.S.C. §1291 ........................................................................................ xi

28 U.S.C. §1332(d)(2) ............................................................................... xi

28 U.S.C. §1332(d)(10).............................................................................. xi

Fed. R. App. P. 4(a)(1)(A) ........................................................................ xii

Fed. R. App. P. 4(a)(7)(A)(ii) .................................................................... xii

Fed. R. Civ. P. 23 ......................................................................... 14, 39, 41

Fed. R. Civ. P. 23(b)(2) ............................................................................ 42

Fed. R. Civ. P. 23(b)(3) ........................................................................ 4, 38

Fed. R. Civ. P. 23(e) ........................................................................... 32, 51

Fed. R. Civ. P. 23(e)(2) ..................................................... 12, 14-15, 17, 24

Fed. R. Civ. P. 23(e)(2)(A)........................................................................ 14

Fed. R. Civ. P. 23(e)(2)(B)............................................................ 14, 17, 24

Fed. R. Civ. P. 23(e)(2)(C)................................................................ passim



                                                    ix
USCA11 Case: 22-11232              Document: 19         Date Filed: 06/14/2022         Page: 15 of 72



Fed. R. Civ. P. 23(e)(2)(C)(i) .................................................. 14, 17, 30, 45

*Fed. R. Civ. P. 23(e)(2)(C)(ii) ................................... 12, 14, 21, 31, 35, 37

*Fed. R. Civ. P. 23(e)(2)(C)(iii) ........................................ 14, 17, 24, 30, 45

Fed. R. Civ. P. 23(f) ................................................................................. 28

Fed. R. Civ. P. 23(h) ................................................................................ 32

Fed. R. Civ. P. 58(a)................................................................................. xii

Fed. R. Civ. P. 72(b)(2) ......................................................................... xi, 9

U.S. Const., Art. III ................................................................................. 41

Other Authorities

AMERICAN LAW INSTITUTE,
   PRINCIPLES OF THE LAW OF AGGREGATE LITIG. § 3.13 (2010) .......... 36

Bulik, Beth Snyder,
     Newly rebranded Reckitt casts ‘Big Bang’ actress—and real-
     life neuroscientist—Mayim Bialik in new Neuriva campaign,
     Fierce Pharma (Mar. 24, 2021) ........................................................ 3

David, Larry,
     “The Non-Fat Yogurt,” Seinfeld (NBC Nov. 4, 1993)..................... 43

Erichson, Howard,
     Aggregation as Disempowerment,
     92 NOTRE DAME L. REV. 859 (2016) ................................................ 19

Erichson, Howard M..
     How to Exaggerate the Size of Your Class Action Settlement,
     DAILY JOURNAL (Nov. 8, 2017) ........................................................ 18

Federal Judicial Center,
     Manual Complex Litigation (Fourth) §21.71 (2004) ...................... 33




                                                    x
USCA11 Case: 22-11232               Document: 19         Date Filed: 06/14/2022          Page: 16 of 72



Federal Rules Committee,
     Notes of Advisory Committee to 2003 Amendments to
     Rule 23 ............................................................................................ 33

Frank, Theodore H.,
    Settlement Insurance Shows Need for Court Skepticism in
    Class Actions, OpenMarket blog (Aug. 31, 2016) .......................... 20

Isaacharoff, Samuel,
     The Governance Problem in Aggregate Litigation,
     81 FORDHAM L. REV. 3165 (2013) .............................................. 32-33

Rothstein, Barbara J. & Thomas E. Willging,
     Managing Class Action Litigation: A Pocket Guide for
     Judges (Federal Judicial Center 2005) ..................................... 34-35

S. Rep. No. 109-14 (2005) ................................................................... 39-40

Schwartz, Victor E. & Christopher E. Appel,
    Government Regulation and Private Litigation: The Law
    Should Enhance Harmony, Not War,
    23 B.U. PUB. INT. L.J. 185 (2014) ................................................... 40

Sheley, Erin L. & Theodore H. Frank,
     Prospective Injunctive Relief and Class Settlements,
     39 HARV. J. L. & PUB. POL’Y 769 (2016).......................................... 41

Silver, Charles,
     Due Process and the Lodestar Method,
     74 TULANE L. REV. 1809 (2000) ...................................................... 25

Wolfman, Brian & Alan B. Morrison,
    Representing the Unrepresented in Class Actions Seeking
    Monetary Relief, 71 NYU L. REV. 439 (1996) ................................. 27




                                                    xi
USCA11 Case: 22-11232    Document: 19     Date Filed: 06/14/2022   Page: 17 of 72




                        Jurisdictional Statement

     The district court has jurisdiction under the Class Action Fairness
Act, 28 U.S.C. § 1332(d)(2), because this is a class action where the

amount in controversy exceeds $5,000,000 exclusive of costs; many class
members in the nationwide class are citizens of states other than a
defendant’s state of citizenship; and no exception to the Class Action

Fairness Act applies. For example, named plaintiff David Williams is a
citizen of Florida, and defendants Reckitt Benckiser LLC and RB Health
(US) LLC are unincorporated associations organized in Delaware with

their principal places of business in New Jersey. Dkt.51 at 5-6;1 cf. 28
U.S.C. § 1332(d)(10).
     This court has appellate jurisdiction under 28 U.S.C. § 1291

because this is a timely filed appeal from a final decision. Class member
and objector Frank filed a timely objection to a proposed class action
settlement. Dkt.75. The Magistrate Judge issued a Report and

Recommendation on December 15, 2021, recommending that the district
court should approve the settlement. Dkt.133. Frank timely objected
under Fed. R. Civ. P. 72(b)(2) to the Report and Recommendation on

December 29, 2021. Dkt.135. The district court overruled Frank’s
objections, adopted the Report and Recommendation in full, and


     1 “Dkt.” refers to the district court docket here. Citations to docket
page numbers are to numbers reflected in ECF headers.


                                    xii
USCA11 Case: 22-11232     Document: 19      Date Filed: 06/14/2022   Page: 18 of 72



approved the settlement in a written approval order dated March 17,
2022. Dkt.140. (Although the district court did not enter final judgment

on a separate document as required by Fed. R. Civ. P. 58(a), this Court
can treat the appeal as one from a proper final judgment because there
are “clear signal[s] from the district court” that it intended to issue a final

order. Luevano v. Wal-Mart Stores, Inc., 722 F.3d 1014, 1020 (7th Cir.
2013); see also Bankers Trust Co. v. Mallis, 435 U.S. 381, 384, 98 S. Ct.
1117 (1978); Mertinez-Mendoza v. Champion Int’l Corp., 340 F.3d 1200,

1215 n.35 (11th Cir. 2003) (“[W]here a district court treats the litigation
as having ended—the court’s judgment is final, and the appeal may go
forward.” (citation omitted)). In the alternative, the Rules consider the

judgment entered 150 days after March 17, 2022, on Monday, August 15,
2022. Fed. R. App. P. 4(a)(7)(A)(ii).)
      Frank filed a notice of appeal on April 15, 2022. Dkt.141. This notice

was timely under Fed. R. App. P. 4(a)(1)(A).
      Objectors have standing to appeal a final approval of a class action
settlement without the need to intervene formally in the case. Devlin v.

Scardelletti, 536 U.S. 1 (2002).




                                     xiii
USCA11 Case: 22-11232    Document: 19    Date Filed: 06/14/2022   Page: 19 of 72




                        Statement of the Issues

     1.    The 2018 amendments to Rule 23(e)(2)(C) require that courts

evaluating a proposed class action settlement consider whether “the
relief provided for the class is adequate” including whether the
settlement provide an effective method to “distribut[e] relief” and the

“terms of any proposed award of attorneys’ fees.” The only appellate
courts to discuss these amendments hold that these rules require district
courts to evaluate actual class recovery. E.g., Briseño v. Henderson, 998

F.3d 1014, 1024 (9th Cir. 2021). Did the lower court err as a matter of
law in failing to evaluate the settlement under Rule 23(e)(2)(C); and by
approving a settlement that awards class counsel a disproportionate fee

of about three times what the class reliefs, and includes terms favoring
class counsel that appellate courts identify as red flags?
     (Raised at Dkt.75 at 31-35; Dkt.135 at 8-9, 17-25; ruled on at

Dkt.133 at 35 and Dkt.140.)
     2.    The settlement requires the defendant to make labeling
changes in its marketing going forward. This injunction is exclusively

prospective and applies equally to class members (who are waiving
claims for monetary relief for past damages) and non-class members
alike, but has no effect on class members who no longer do business with

the defendant. Did the district court err as a matter of law in crediting a




                                     1
USCA11 Case: 22-11232      Document: 19   Date Filed: 06/14/2022   Page: 20 of 72



prospective, non-exclusive injunction as a benefit to a class of past
purchasers releasing damages claims?

     (Raised at Dkt.75 at 28; Dkt.117 at 11-12; Dkt.125 at 4-5; Dkt.135
at 10-11, 14; ruled on at Dkt.133 at 35 and Dkt.140.)
     3.       A district court must give a “reasoned response” to objections

made with specificity. Johnson v. NPAS Sols, LLC, 975 F.3d 1244, 1262
(11th Cir. 2020). Did the district court commit reversible error when it
approved the settlement without addressing several of Frank’s

objections?
     (Raised at Dkt.75 at 28, 32-33; Dkt.117 at 11-12; Dkt.125 at 4-5;
Dkt.135; ruled on at Dkt.133 and Dkt.140.)




                                      2
USCA11 Case: 22-11232    Document: 19     Date Filed: 06/14/2022   Page: 21 of 72



                        Statement of the Case

     A.    Plaintiffs sue over Neuriva label.

     Reckitt Benckiser LLC and RB Health (US) LLC (collectively, “RB”)
manufactures the supplement Neuriva, which it heavily advertises on
television. In 2020, three sets of plaintiffs in three separate putative

class-action complaints, later amended and consolidated into a single
complaint, sued RB alleging, among other things, that it deceptively
marketed Neuriva as promoting cognitive function when in fact “none of

the Neuriva Products has ever been clinically studied.” Dkt.51 at 4;
Dkt.116-1 at 6-7. For example, Plaintiffs alleged Defendant’s products
falsely claimed Neuriva “Fuels 5 indicators of brain performance.” Dkt.51

at 10.
     Neither the district court nor the settling parties say how large the
national class is, but RB’s brand manager has publicly reported over $100

million in sales, implying that RB has sold millions of bottles of Neuriva.
Beth Snyder Bulik, Newly rebranded Reckitt casts ‘Big Bang’ actress—
and real-life neuroscientist—Mayim Bialik in new Neuriva campaign,

Fierce      Pharma         (Mar.        24,      2021),       available        at
https://www.fiercepharma.com/marketing/newly-rebranded-reckitt-
casts-big-bang-actress-mayim-bialik-campaign-for-otc-brand                  (last

accessed June 11, 2022).




                                    3
USCA11 Case: 22-11232    Document: 19    Date Filed: 06/14/2022   Page: 22 of 72



     B.    The parties agree to a claims-made settlement with
           clear sailing for fees.

     Before the court decided any motions to dismiss and before any
formal discovery, the parties settled in January 2021. Dkt.52-1. The
district court referred future proceedings to Magistrate Judge Jonathan

Goodman. Dkt.53.
     The settlement covered a Rule 23(b)(3) class of “[a]ll persons who
purchased … one or more Neuriva Products … between January 1, 2019

and the date of Preliminary Approval of the Settlement by the Court.”
Dkt.116-1 at 7. Class members with receipts of their purchases could
recover up to $32.50 per claim with a maximum number of two claims,

for a total potential recovery of $65.00. Id. at 11. Without receipts, class
members could instead only recover $5.00 per claim, with a maximum
number of four claims, for a total potential recovery of $20.00. Id. All

claims must include certifications under penalty of perjury. Id. at 12. The
settlement caps total recovery for the class at $8 million, with reductions
to all claims on a pro rata basis if claims exceed that amount. Id. Should

claims exceed $8 million, RB would also have the unconditional right to
terminate the settlement. Id. But if claims were less than $8 million, RB
would have no obligation to pay more than the claims made. Id. at 11.

     Under the final version of the settlement ultimately approved by
the court, “Injunctive Relief” requires RB to change Neuriva’s labeling
and marketing materials for a period of two years starting six months



                                     4
USCA11 Case: 22-11232    Document: 19    Date Filed: 06/14/2022   Page: 23 of 72



after the settlement becomes final. Dkt.116-1 at 9. The settlement
enjoined RB from use of the terms “Clinically Proven,” “Science Proved,”

and “Clinically Tested and Shown,” although RB may use terms like
“science tested” and “clinically tested” without “shown.” Id. An exemplary
Neuriva package attached as an exhibit to the settlement shows that RB

will continue to market Neuriva as “Clinically Tested” and “clinically
tested to help support brain health.” Id. at 54.
     The settlement entitled six law firms to seek $2.9 million in

attorney’s fees and RB agreed not to oppose the request. Dkt.116-1
at 14-15. This equals a 2.5x multiplier on class counsel’s lodestar.
Dkt.133 at 96. If the court awarded less than $2.9 million, the remainder

would revert to RB. Dkt.116-1 at 14-15. RB agreed that it would support
Plaintiffs’ efforts to prove the value of the proposed injunctive relief to
the court to win settlement approval and their fee request. Id. at 10.

     Class members released all claims relating to misleading labeling
and marketing of Neuriva products. Dkt.116-1 at 16-17.

     C.    Frank objects.

     Theodore Frank timely objected to the settlement and fee request.
Dkt.75. Frank is a public-interest attorney who has previously




                                     5
USCA11 Case: 22-11232    Document: 19    Date Filed: 06/14/2022   Page: 24 of 72



successfully challenged settlements that favored class attorneys over
their putative clients, winning millions of dollars for class members. 2

     Frank objected that the settlement was structured to benefit the
attorneys at the expense of the class in violation of the amended Federal
Rule of Civil Procedure 23(e)(2). Dkt.75 at 10-28, 31-35. He argued the

purported $8 million settlement value was illusory, because the claims
process was structured so that class members were certain to receive a
small fraction of that amount. Id. at 7; Dkt.135 at 19. And, as a result,

the attorneys—who had unfairly protected their fee request with “clear
sailing” and a segregated fund that did not revert to the class—would
receive much more than the class did. Dkt.75 at 31-35. Frank observed

that class members like him, who would not purchase Neuriva again,
receive no conceivable benefit from the injunction. Id. at 28 n.10. Frank
noted that class members, defined as past purchasers, receive no benefit

from prospective injunctive relief. Dkt.117 at 11-12 (citing In re Dry Max
Pampers Litig., 724 F.3d 713, 715 (6th Cir. 2013) (“Pampers”) and
Pearson, 772 F.3d at 786 (7th Cir. 2014)); Dkt.125 at 4-5. The slight

     2E.g., Briseño v. Henderson, 998 F.3d 1014 (9th Cir. 2021); Pearson
v. NBTY, Inc., 772 F.3d 778 (7th Cir. 2014); In re Baby Prods. Antitrust
Litig., 708 F.3d 163 (3d Cir. 2013); In re Bluetooth Headset Prod. Liab.
Litig., 654 F.3d 935 (9th Cir. 2011). See generally Dkt.75-1; see also In re
Stericycle Sec. Litig., __ F.4th __, 2022 U.S. App. LEXIS 13414, *37 n.11
(7th Cir. May 18, 2022) (citing cases).




                                     6
USCA11 Case: 22-11232    Document: 19    Date Filed: 06/14/2022   Page: 25 of 72



change in wording was meaningless even to future consumers (and, by
extension, costless to RB), and RB’s marketing of Neuriva remained as

allegedly misleading as before the litigation and settlement. Dkt.125
at 2-5.
      Truth in Advertising, Inc. (“TINA”), an independent, non-profit,

advertising watchdog organization, filed an amicus curiae brief. Dkt.83.
TINA agreed with Frank that the injunctive relief was worthless to class
members. Dkt.83 at 3-11; Dkt.122. It also agreed that the amount of

attorney’s fees received by class counsel far outstripped the monetary
relief provided to the class. Dkt.83 at 12-14.
      According to the settlement, the claims period runs until 45 days

after final approval, May 2, 2022. Dkt.116-1 at 3. The parties have not
provided and the court has not requested a final audited number. Before
the R&R, the settlement administrator reported on October 10, 2022 that

the class made $935,332.50 worth of unaudited claims. Dkt.128-1 at 2.
The administrator updated the figure to $1,109,182.50 on January 10,
extrapolating for expected claims from mailed forms that it had not

examined. Dkt.137-1 at 5. The administrator reported “the submitted
claims have not yet been reviewed for completeness, deduplication, or
fraud determination.” Id. Upon information and belief from the results in

past settlements, the amount paid to the class will drop below $1 million
after auditing. E.g., In re Southwest Air. Voucher Litig., 898 F.3d 740,
743 (7th Cir. 2018) (audit eliminates more than two-thirds of claims).


                                     7
USCA11 Case: 22-11232    Document: 19    Date Filed: 06/14/2022   Page: 26 of 72



     D.    The magistrate judge recommends approving the
           settlement, while failing to address several of Frank’s
           objections.
     On December 15, 2021, Magistrate Judge Goodwin issued his
Report and Recommendation (“R&R”) to approve the proposed

settlement. Dkt.133. Relying on cases predating the 2018 amendments
to Rule 23 without addressing Frank’s arguments about those
amendments, the R&R found the proper value of the settlement fund was

the amount made available, or $8 million dollars here, id. at 83; that the
funds “clear sailing” and “kicker” provisions were not indicative that class
counsel compromised class members recovery here, id. at 87; and that

class counsel’s $2.9 million fee request was within the bounds of an
allowable percentage of the fund, given the previous valuation as the
funds made available, id. at 90-91. The R&R found that the “a settlement

providing $8 million in cash and prospective injunctive relief” was an
“excellent” “result[].” Id. at 102. It found that the injunctive relief
provided was “significant” but did not provide a valuation of the

injunction, stating only that it was worth “some amount.” Id. at 94. It
also noted that “the Undersigned feels comfortable concluding that the
injunctive relief has some value but articulating a specific dollar range

would be speculative.” Id. at 97. It did not address Frank’s objection that
the prospective injunctive relief was not compensation for past damages.
The R&R did not cite Pampers at all, and distinguished Pearson as a

settlement that provided “only $865,284 … for the settlement class,


                                     8
USCA11 Case: 22-11232   Document: 19    Date Filed: 06/14/2022   Page: 27 of 72



which amounted to only seven cents per class member,” without
addressing the reasoning of Pearson where the settling parties argued

that they had made millions of dollars available. Id. at 104-05.

     E.    The district court adopts the Report and
           Recommendation without addressing any of Frank’s
           objections.
     As Rule 72(b)(2) permits, on December 29, 2021, Frank objected to
the R&R. Dkt.135. Frank argued the R&R erred in crediting the

injunctive relief as having any value to class members because, among
other reasons, the class of past purchasers could not possibly benefit as
class members from the prospective injunctive relief. Id. at 10-14. Frank

also argued that the R&R did not analyze the settlement, as it must,
under Fed. R. Civ. P. 23(e)(2)(C), and that the revised language of the
Rule precluded approval of the settlement because it unfairly benefited

class counsel at the expense of class members. Id. at 17-25.
     On March 17, 2022, the district court overruled Frank’s objection
and adopted in full the R&R in a one-page order without addressing any

of Frank’s specific objections. Dkt.140. Frank timely filed his notice of
this appeal on April 15, 2022. Dkt.141.

     F.    Standard of Review
     A district court decision to approve a class-action settlement is

reviewed for abuse of discretion. Johnson v. NPAS Sols, LLC, 975 F.3d




                                    9
USCA11 Case: 22-11232     Document: 19    Date Filed: 06/14/2022   Page: 28 of 72



1244, 1251 n.2 (11th Cir. 2020); Day v. Persels & Assocs., LLC, 729 F.3d
1309, 1316 (11th Cir. 2013).

      “A district court by definition abuses its discretion when it makes
an error of law.” Koon v. United States, 518 U.S. 81, 100 (1996). Or if it
“applies the law in an unreasonable or incorrect manner.” Citizens for

Police Accountability Political Comm. v. Browning, 572 F.3d 1213, 1216
(11th Cir. 2009). Or if it “follows improper procedures in reaching its
decision.” Johnson, 975 F.3d at 1251 n.2 (internal quotations and

alterations omitted). Or if it fails to provide a “reasoned response” to
objections to settlement approval. 975 F.3d at 1262. Or if it “fails to afford
consideration to relevant factors that were due significant weight” or

where “it considers the proper factors but balances them unreasonably.”
United States v. Irey, 612 F.3d 1160, 1189 (11th Cir. 2010) (en banc)
(citing cases).

      Review is subject to more searching scrutiny yet where, as here,
parties negotiate the settlement before class certification. In re Gen.
Motors Corp. Pick-Up Truck Fuel Tank Prods. Liab. Litig., 55 F.3d 768,

786-800, 805 (3d Cir. 1995) (“GM Trucks”). In appellate review, courts
must recognize that “the class settlement process is more susceptible
than adversarial adjudications to certain types of abuse.” Holmes v.

Cont’l Can Co., 706 F.2d 1144, 1147 (11th Cir. 1983) (internal quotation
omitted).




                                     10
USCA11 Case: 22-11232   Document: 19    Date Filed: 06/14/2022   Page: 29 of 72



     Questions of law are reviewed de novo, including, as Frank asks on
this appeal, interpretation of the Federal Rules of Civil Procedure.

Johnson, 975 F.3d at 1252 n.3.




                                   11
USCA11 Case: 22-11232    Document: 19    Date Filed: 06/14/2022   Page: 30 of 72



                        Summary of Argument

     Courts recognize that Rule 23(e)(2)(C), created by amendment in
2018, forbids class-action settlements that disproportionately favor class

counsel over their clients. E.g., Briseño v. Henderson, 998 F.3d 1014 (9th
Cir. 2021); cf. also Pearson v. NBTY, Inc., 772 F.3d 778 (7th Cir. 2014)
(same holding pre-amendment). This settlement paid attorneys $2.85

million, about three times as much as the class will receive, an upside-
down disproportion. But the district court erred as a matter of law in
valuing the benefit to the class as the fictional $8 million “made

available” in a claims process that had no chance of distributing that
amount. This contradicts the plain language of Rule 23(e)(2)(C)(ii) and
creates perverse incentives for future class counsel. But the district court

did not follow the commands of the amended Rule 23(e)(2) at all, or
address Frank’s objections about the violations of the Rule.
     Normally, courts can adjust disproportion in common-fund

settlements by reducing the percentage of the common fund going to the
attorneys, thus increasing the share of the settlement benefit the class
receives. But here, the parties structured the settlement with clauses

that both prevented class-members from requesting that redistribution
and a court from making it. The settlement’s segregation of the fee fund
from the class recovery meant that money that Neuriva was willing to

pay to settle the case would revert to Neuriva if a court reduced fees. The
settlement even shielded the fees with a clear-sailing provision. Courts


                                    12
USCA11 Case: 22-11232    Document: 19    Date Filed: 06/14/2022   Page: 31 of 72



recognize that these are “questionable provisions,” red flags of self-
dealing that should count against settlement approval. E.g., Briseño, 998

F.3d at 1018. The court below erred as a matter of law in considering
them beneficial provisions.
     The injunction arguably provides no value to anyone, but, for

purposes of this appeal, what’s relevant is that it is not targeted to class
members, and thus not consideration for class members who are waiving
claims for past damages. In re Dry Max Pampers Litig., 724 F.3d 713, 720

(6th Cir. 2013); Synfuel Tech., Inc. v. DHL Express (USA), Inc., 463 F.3d
646, 654 (7th Cir. 2006). The district court failed to provide a reasoned
response to Frank’s objection on this score, but also erred as a matter of

law in failing to follow Pampers, and crediting an injunction as valuable
consideration to the class when it applies to class members and non-class
members alike.

     Because the district court failed to apply the proper legal standards
of Rule 23(e)(2)(C), and because the court failed to provide reasoned
responses to several of Frank’s objections, its approval of the settlement

must be vacated. Johnson, 975 F.3d at 1262. Because the settlement
impermissibly favors class counsel at the expense of their clients with a
bevy of questionable provisions and fees that dwarf the payout to the

class, a court should not approve it, and this Court should say so.




                                    13
USCA11 Case: 22-11232    Document: 19     Date Filed: 06/14/2022   Page: 32 of 72



                                Argument

I.   Because of class-action settlements’ agency problems,
     courts and Rule 23(e)(2)(C) recognize the need for scrutiny
     to prevent class counsel from self-dealing at the expense of
     absent class members. It is not enough that a settlement be
     large enough. The settling parties must also allocate
     benefits fairly to satisfy Rule 23.

     A.    The district court erred as a matter of law when it
           failed to address Rule 23(e)(2)(C) factors not listed in
           Bennett.

     The 2018 amendments to Rule 23(e)(2) created a new list of
elements district courts must consider before approving a class-action

settlement. The Eleventh Circuit has long had a six-factor test for
evaluating settlement fairness. Bennett v. Behring Corp., 737 F.2d 982,
986 (11th Cir. 1984). That test is generally consistent with the new

requirements of Rules 23(e)(2)(A), (B), and (C)(i), none of which are at
issue in this appeal.
     But the 2018 amendments also added, among other things,

Rules 23(e)(2)(C)(ii), requiring evaluation of “the effectiveness of any
proposed method of distributing relief to the class,” and (C)(iii), requiring
evaluation of settlement fairness with respect to “the terms of any

proposed award of attorney’s fees.” Even before the 2018 amendments,
this Court recognized that satisfying the six-factor Bennett test was




                                     14
USCA11 Case: 22-11232    Document: 19    Date Filed: 06/14/2022   Page: 33 of 72



necessary, but not sufficient, to withstand appellate review. E.g.,
Piambino v. Bailey, 757 F.2d 1112 (11th Cir. 1985).

      The district court here quoted Rule 23(e)(2)’s requirements in a
footnote, Dkt.133 at 35 n.7, but did not assess any of the factors in
Rule 23(e)(2) not listed in Bennett. This by itself was reversible error.

      And neither the magistrate report nor the district court opinion
perfunctorily adopting the report considered Frank’s objections based on
Rule 23(e)(2)(C). Dkt.75 at 32-33, Dkt.135 at 8-9, 17-21. The failure of the

district court to “set forth on the record a reasoned response to …
objections” by itself independently warrants a remand. Johnson, 975 F.3d
at 1262.

      But this Court can go beyond asking the district court to apply the
correct standard of law and to make a reasoned response to objections.
As discussed below, the settlement violated Rule 23(e)(2)(C) as a matter

of law. The settlement here, which waives the retrospective damages
claims of class members, paid class counsel $2.9 million (a 2.5x multiplier
on their lodestar), but class members will likely receive less than

$1 million. (There is also prospective injunctive relief of “some”
“speculative” value (Dkt.133 at 97), but, as discussed in Section III below,
that injunctive relief applies to class members and non-class members

alike.)
      If the settling parties created a $4 million common fund, Rule 23
would not permit class counsel to extract over 70% of the common fund


                                    15
USCA11 Case: 22-11232    Document: 19    Date Filed: 06/14/2022   Page: 34 of 72



in fees. There is no reason to approve such an unfair distribution because
the parties instead structured the settlement to segregate the proposed

fees from the proposed class recovery.

     B.    Rule 23(e)(2)(C) requires courts to be wary of the
           allocation of a class-action settlement.

     To protect members of the class who are not parties to the
settlement agreement, courts have a duty to ensure that class counsel
have not unfairly bargained away the rights of those absent class

members. Unlike settlements in other civil litigation, class-action
settlements require court approval under Rule 23’s standards. “The
parties to an ordinary settlement bargain away only their own rights—

which is why ordinary settlements do not require court approval. In
contrast, class-action settlements affect not only the interests of the
parties and counsel who negotiate them, but also the interests of the

unnamed class members who by definition are not present during the
negotiations.” In re Dry Max Pampers Litig., 724 F.3d 713, 715 (6th Cir.
2013) (“Pampers”). To “guard against settlements that may benefit the

class representatives or their attorneys at the expense of the absent class
members,” the district must act as a fiduciary for the class and apply
“careful scrutiny” to the proposed settlement. Holmes, 706 F.2d at 1147;

accord Piambino, 757 F.2d at 1139; Pettway v. Am. Cast Iron Pipe Co.,
576 F.2d 1157, 1215-16 (5th Cir. 1978) (commanding district courts to
“always consider the possibility that that an agreement reached by the


                                    16
USCA11 Case: 22-11232    Document: 19    Date Filed: 06/14/2022   Page: 35 of 72



class attorney is not in the best interest of the class” and to beware of
settlements which enrich class counsel to a greater degree than they do

the absent class).
     Every dollar reserved to the class is a dollar defendants cannot pay
class counsel, so naturally, a conflict of interest can emerge. Because

defendants are interested only in disposing of the total claim asserted
and “are uninterested in what portion of the total payment will go to the
class and what percentage will go to the class attorney,” they “operate[]

as no brake against the invidious effects of such a conflict of interest.”
Piambino, 757 F.2d at 1143; accord Pearson, 772 F.3d at 787. Thus, while
class counsel and defendants have proper incentives to bargain

effectively over the size of a settlement, they have no such constraints on
allocating it between the payments to class members and the fees for
class counsel—unless courts police that allocation. Pampers, 724 F.3d

at 717.
     The new Rule 23(e)(2) reinforces this. A settlement can be at arm’s
length (satisfying Rule 23(e)(2)(B)) and large enough to reflect the fair

value of the underlying case (satisfying Rule 23(e)(2)(C)(i)). But a
settlement must also satisfy Rule 23(e)(2)(C)(iii). When, as here, class
counsel use negotiated fee provisions to favor themselves over their

clients, a district court has a legal obligation to reject the proposed
settlement, even when negotiated at arm’s length. Piambino, 757 F.2d at
1139; Kim v. Allison, 8 F.4th 1170, 1178 (9th Cir. 2021); Briseño v.


                                    17
USCA11 Case: 22-11232    Document: 19    Date Filed: 06/14/2022   Page: 36 of 72



Henderson, 998 F.3d 1014 (9th Cir. 2021); see also Pampers, 724 F.3d at
721; Pearson v. NBTY, Inc., 772 F.3d 778, 786-87 (7th Cir. 2014);

Bluetooth, 654 F.3d at 948-49.3

     C.    Settlements may contain illusory relief that obscures
           the true allocation of the class relief.

     Class counsel can structure a settlement to obscure the relative
allocations between lawyers and class members by artificially inflating
the settlement’s apparent value. The illusion of a large settlement

benefits both class counsel and a defendant: “The more valuable the
settlement appears to the judge, the more likely the judge will approve
it. And the bigger the settlement, the bigger the fee for class counsel.”

Howard M. Erichson, How to Exaggerate the Size of Your Class Action
Settlement, DAILY JOURNAL (Nov. 8, 2017).4 Without judicial oversight to
weed out such practices, class members are left with disproportionate


     3 Courts have sometimes imprecisely referred disproportional
results as a sign of “collusion.” Briseño, 998 F.3d at 1026. In fact,
adversarial arm’s-length self-dealing can lead to impermissible results.
“[T]he incentives for the negotiators to pursue their own self-interest …
can influence the result of the negotiations without any explicit expression
or secret cabals.” Roes, 944 F.3d at 1050 n.13 (cleaned up and emphasis
added) (finding insufficient a district court’s finding that settlement was
non-collusive where reversionary terms allowed the defendant to keep
most of the purported relief).
     4 Available at https://www.dailyjournal.com/articles/344700-how-
to-exaggerate-the-size-of-your-class-action-settlement.


                                    18
USCA11 Case: 22-11232       Document: 19    Date Filed: 06/14/2022   Page: 37 of 72



settlements in which class counsel recovers far more than the 20-to-30-
percent benchmark set by this Court. See Howard Erichson, Aggregation

as Disempowerment, 92 NOTRE DAME L. REV. 859 (2016); see also Camden
I Condominium Ass’n, Inc. v. Dunkle, 946 F.2d 768, 774-75 (11th Cir.
1991) (outlining the 20-30% benchmark).

     Consider the likelihood of settlement approval if class counsel
openly sought approval of a common-fund cash settlement of $4 million,
which paid the lawyers $2.9 million in fees and expenses and leaving

class members perhaps $1 million in collective recovery—as this
settlement ultimately does. Few judges would approve that allocation,
and precedent forecloses that result. See, e.g., Redman v. RadioShack

Corp., 768 F.3d 622, 630-32 (7th Cir. 2014) (55%-67% allocation unfair);
Bluetooth, 654 F.3d at 947-49 (disproportionate fee award is a hallmark
of an unfair settlement). For the attorney fee and deal to have any chance

of court approval, it must conceal this result. So settling parties create
hypothetical class recoveries and difficult-to-calculate “benefits” that
ultimately have little value to the class but are cheap for defendants to

provide. These hypothetical recoveries get a high price tag that inflates
the overall “value” of the settlement package that goes to the judge, but
do nothing for the class.

     A “claims-made” structure is among the most common tools used to
achieve the mirage of value. In this type of settlement, rather than make
direct payment to class members, a defendant agrees to make a specified


                                       19
USCA11 Case: 22-11232     Document: 19    Date Filed: 06/14/2022   Page: 38 of 72



amount of money available to the class, in theory at least, but only pay
out on the claims that class members file. See Pearson, 772 F.3d at 782-

83 (describing perverse incentives created by a claims-made settlement);
Roes v. SFBSC Mgmt., LLC, 944 F.3d 1035, 1058-59 (9th Cir. 2019)
(“Roes”) (same). Nearly all of the class members will not file a claim and

thus will go uncompensated because claims rates are “notoriously low.”
Briseño, 998 F.3d at 1026.
     Settling parties expect that the amount the defendant will pay will

be nowhere near the amount “made available” because single-digit claims
rates are endemic to class actions, particularly without any direct notice
to the class. Briseño, 998 F.3d at 1026 n.3; see also, e.g., In re Carrier iQ,

Inc. Consumer Privacy Litig., No. 12-md-02330-EMC, 2016 WL 4474366,
at *4 (N.D. Cal. Aug. 25, 2016) (prominent settlement administrator
found a median claims rate of 0.023% in settlements with publication-

only notice); Pearson, 772 F.3d at 782 (“the percentage of class members
who file claims [in consumer class actions] is often quite low”). In fact,
private services are now available to forecast the cost of class-action

settlements with actuarial certainty and assume 100% of the risk should
payouts be higher. Theodore H. Frank, Settlement Insurance Shows Need
for Court Skepticism in Class Actions, OpenMarket blog (Aug. 31, 2016).5



     5  Available at https://cei.org/blog/settlement-insurance-shows-
need-court-skepticism-class-actions (last accessed Jun. 12, 2022).


                                     20
USCA11 Case: 22-11232    Document: 19       Date Filed: 06/14/2022   Page: 39 of 72



Under the claims-made structure, class members recover—and a
defendant pays—much less than when a defendant disburses funds

directly to the class in a common fund. At the same time, class counsel
can, as they did here, boast about the amount purportedly “made
available” and seek to justify a large fee award, even though class

members will receive a small fraction of that amount.
     The way to ameliorate this problem is to motivate counsel to seek
out absent members by tying fees to the amounts the class actually

receives. As long as class counsel can maintain the illusion of an amount
“made available” that justifies their fee award, and defendants can buy
peace at a fraction of that amount, class counsel has every incentive to

ensure that their putative clients will neither make claims nor receive
cash. But, as Section II below discusses, Rule 23(e)(2)(C)(ii) requires
courts to see through that illusion.

     Injunctive relief is another tool that enables class counsel and the
defendant to inflate the perceived value of the settlement. The value of
injunctive relief is “easily manipulable by overreaching lawyers seeking

to increase the value assigned to a common fund.” Staton v. Boeing Co.,
327 F.3d 938, 974 (9th Cir. 2003). Defendants benefit from res judicata
following judicial approval of the settlement and the minimal cost of that

relief, while class counsel hopes for approval of a higher fee request. The
critical question for a reviewing court is whether the change achieved by




                                       21
USCA11 Case: 22-11232    Document: 19     Date Filed: 06/14/2022   Page: 40 of 72



the settlement benefits class members as class members. See Section III
below.

     Where courts fail to insist that settling parties compensate the class
for their injuries, settlements will look like the one here: a claims process
that limits class members’ collective recovery; attorneys’ fees wildly

disproportionate to the actual payout to the class, shielded from appellate
review by self-dealing “clear-sailing” and “kicker” clauses; and injunctive
relief divorced from the claims of class members. E.g., Briseño; Pearson;

Roes; Pampers; Bluetooth. The Settlement here has all of these telltale
signs, a “bevy of questionable provisions.” Briseño, 998 F.3d at 1018.
Exacerbating the problems, the Settlement includes a “clear-sailing”

clause under which the defendant agreed not to challenge the attorneys’
fees as well as a “kicker” so that any reduction in the fee award reverts
to the defendants rather than the class. “The clear sailing provision

reveals the defendant’s willingness to pay, but the kicker deprives the
class of that full potential benefit if class counsel negotiates too much for
its fees.” Bluetooth, 654 F.3d at 949. And worse, it prevents the court from

correcting the misallocation of the settlement relief by returning
excessive fees to class members.
     The vitality of the class-action mechanism depends on rigorous

scrutiny by the judiciary and the application of doctrinal tests that
properly align the incentives of class counsel with those of the vulnerable,
absent class members whose claims they settle away.


                                     22
USCA11 Case: 22-11232    Document: 19    Date Filed: 06/14/2022   Page: 41 of 72



      The district court’s scrutiny failed to meet this standard and, as a
result, it overlooked the red flags of settlement unfairness courts have

identified.

II.   The settlement approval cannot stand as a matter of law
      because class counsel negotiated $2.9 million for themselves
      in a settlement where the class receives only $1.1 million.
      The settlement here required RB to pay up to $8 million to the class.
But it established a claims procedure that all but guaranteed that RB

would not pay much more than $1 million to hundreds of thousands of
class members. Meanwhile, class counsel negotiated for itself a $2.9
million payday, shielded by a clear-sailing agreement and a segregated

fund. This settlement is a prime example of a “sharp professional
practice” of attorneys “us[ing] the class action procedure for their
personal aggrandizement.” Piambino, 757 F.2d at 1144 (internal

quotations and citation omitted). Every appellate court to consider the
2018 amendments rejects this scenario in a settlement where class
members are waiving damages claims.

      A.      Disproportionate allocation violates Rule 23(e)(2)(C)
              even without a showing of actual collusion.
      The Settlement is unfair as a matter of law because class counsel’s
fee award consumes about three fourths of the total benefit. Rule 23

requires courts to consider defects of allocation between the class and
class counsel as part of their fairness review. Courts must consider,


                                    23
USCA11 Case: 22-11232     Document: 19     Date Filed: 06/14/2022   Page: 42 of 72



among other things, whether “the relief provided for the class is
adequate, taking into account . . . the terms of any proposed award of

attorney’s fees.” Fed. R. Civ. Proc. 23(e)(2)(C)(iii). The district court erred
as a matter of law in approving the settlement without considering—or
even mentioning—this factor at all, much less Frank’s objections based

on these issues. Compare Johnson, 975 F.3d at 1262 (requiring a
“reasoned response” “proportional to the specificity” of the objections)
(internal quotation omitted) with Dkt.75 at 31-35, Dkt.135 at 8-9, 17-22.

      Rather than consider Rule 23(e)(2)(C)(iii), the district court held the
problematic structuring of attorneys’ fees irrelevant because the
settlement was “negotiated at arm’s length.” Dkt.133 at 88. But whether

parties negotiate a settlement at arm’s length is the subject of
Rule 23(e)(2)(B). Satisfying one Rule 23(e)(2) factor does not nullify a
settlement’s failure to satisfy other Rule 23(e)(2) requirements. Roes, 944

F.3d at 1049 n.12.
      Impermissible self-dealing can occur without the settling parties
explicitly conniving in a smoke-filled room to unfairly treat the class.

Arm’s-length negotiations protect the interests of the class only with
respect “to the amount the defendant will pay, not the manner in which
that amount is allocated between the class representatives, class counsel,

and unnamed class members.” Pampers, 724 F.3d at 717.
      Thus, courts “must be particularly vigilant not only for explicit
collusion, but also for more subtle signs that class counsel have allowed


                                      24
USCA11 Case: 22-11232    Document: 19     Date Filed: 06/14/2022   Page: 43 of 72



pursuit of their own self-interests … to infect the negotiations.”
Bluetooth, 654 F.3d at 947. Rather than explicit collusion, there need only

be acquiescence for such self-dealing to occur: “a defendant is interested
only in disposing of the total claim asserted against it” and “the allocation
between the class payment and the attorneys’ fees is of little or no

interest to the defense.” Id. at 949 (quoting Staton v. Boeing Co., 327 F.3d
938, 964 (9th Cir. 2003) and In re Gen. Motors Corp. Pickup Truck Fuel
Tank Prod. Liab. Litig., 55 F.3d 768, 819-20 (3d Cir. 1995)); accord

Briseño, 998 F.3d at 1025; Pearson, 772 F.3d at 783.
     The self-dealing here not only included a disproportionate fee, but
a clear-sailing agreement and a segregated fund for the proposed

attorneys’ fees that would revert to the defendant rather than the class.
These are convincing indications of a lawyer-driven settlement See
generally Briseño, 998 F.3d at 1026-27; accord Pearson, 772 F.3d

at 786-87; Piambino, 757 F.2d at 1122. The combination unfairly
insulates the fee request from scrutiny. Charles Silver, Due Process and
the Lodestar Method, 74 TULANE L. REV. 1809, 1839 (2000) (such a fee

arrangement is “a strategic effort to insulate a fee award from attack”);
Briseño, 998 F.3d at 1027; Pearson, 772 F.3d at 786-87. A class member
who objects to an excessive fee request would have to do so pro bono:

because the fee reduction would create no benefit for the class, the class
member would not be entitled to attorneys’ fees for his success. And
segregation shields an excessive fee award from appellate review: an


                                     25
USCA11 Case: 22-11232    Document: 19     Date Filed: 06/14/2022   Page: 44 of 72



objector would not have standing to challenge the fee award if she does
not also challenge the settlement approval.6 Thus, the segregation is a

“gimmick” that courts should reject as unfair. Pearson, 772 F.3d at 786.
The district court erred in ignoring the economic reality and effect of this
settlement structure, making the upside-down finding that these self-

serving clauses were a benefit that provided a “reason[] to approve a class
action settlement.” Dkt.133 at 89.
     The Ninth Circuit describes why segregated funds are unfair to

class members. “The clear sailing provision reveals the defendant’s
willingness to pay, but the kicker deprives the class of that full potential
benefit if class counsel negotiates too much for its fees.” Bluetooth, 654

F.3d at 949. “[T]here is no apparent reason the class should not benefit
from the excess allotted for fees.” Id; accord Briseño, 998 F.3d at 1027;
see also Pearson, 772 F.3d at 786-87 (reversion clause has “strong

presumption of [] invalidity”); Eubank v. Pella Corp., 753 F.3d 718, 723
(7th Cir. 2014) (highlighting reversion as a “questionable provision” that
should have been “deleted”).


     6 Contrast Silverman v. Motorola, Inc., 739 F.3d 956, 957 (7th Cir.
2013) (no standing for objector who only challenges attorneys’ fees
without challenging settlement when objector cannot benefit from fee
reduction) and Glasser v. Volkswagen of Am., Inc., 645 F.3d 1084 (9th
Cir. 2011) (same) with Bluetooth, 654 F.3d at 949 n.9 (objectors who
challenge disproportionate fee as part of challenge to Rule 23(e) approval
of $0 settlement have appellate standing).


                                     26
USCA11 Case: 22-11232   Document: 19    Date Filed: 06/14/2022   Page: 45 of 72



     The district court allowed its finding that arm’s-length negotiations
occurred to short-circuit its inquiry over whether class counsel had

unfairly treated the class with its own self-dealing. This is by itself
reversible error requiring remand even if this Court is unwilling to hold
on its face unreasonable a settlement that class counsel proposes to pay

the attorneys nearly three times what the class received.
     That fees may not be negotiated until after the rest of the
settlement should make no difference, and the court erred in thinking

otherwise. Dkt.133 at 89. The settling parties are economic actors with
rational expectations. Even when parties sever the negotiations over fees,
the parties know in advance that those negotiations are coming, that the

defendants have a reservation price based on their internal valuation of
the litigation, and that every dollar negotiated for the class reduces the
amount the defendants are willing to pay class counsel. Because these

future fee negotiations are not an unexpected surprise, the overhang of
the future fee negotiations necessarily infects the earlier settlement
negotiations. Pearson, 772 F.3d at 786; Bluetooth, 654 F.3d at 948

(separation of fee negotiations from other settlement negotiations does
not demonstrate that a settlement with disproportionate fee proposal is
fair); see also Brian Wolfman & Alan B. Morrison, Representing the

Unrepresented in Class Actions Seeking Monetary Relief, 71 NYU L. REV.
439, 504 (1996). The district court erred as a matter of law in ignoring




                                   27
USCA11 Case: 22-11232    Document: 19     Date Filed: 06/14/2022   Page: 46 of 72



this economic reality and thinking that the segregated fund was a benefit
to the class, rather than a sign of self-dealing. Dkt.133 at 87-89.

     In assessing disproportionality, “[t]he ratio that is relevant … is the
ratio of (1) the fee to (2) the fee plus what the class members received.”
Redman, 768 F.3d at 630. Here, the class stands to recover less than

$1 million, while class counsel sought unopposed, and the court awarded,
fees and costs of $2.9 million, about three times as much. Using that
Redman ratio, class counsel’s allocation here was about 72 to 75% of the

constructive common fund. Courts regularly reverse settlement
approvals where the disproportion is smaller than the share class counsel
took for itself here. Roes, 944 F.3d at 1051 (fee award of 45% of gross cash

fund is “disproportionate”); Pearson, 772 F.3d at 781 (69% allocation is
“outlandish”); Redman, 768 F.3d at 630-32 (55%-67% allocation unfair);
Dennis v. Kellogg, Inc., 697 F.3d 858, 868 (9th Cir. 2012) (38.9% fee would

be “clearly excessive”). Anything above fifty percent exceeds the “upper
limit” of a reasonable fee share of the proceeds. In re Samsung Top-Load
Washing Machine Mktg., Sales Practices & Prods. Liab. Litig., 997 F.3d

1077, 1095 (10th Cir. 2021) (quoting Camden I, 946 F.2d at 774-75);
Pearson, 772 F.3d at 782. And here, where the plaintiffs did not even face
the risk of a fully litigated motion to dismiss, is not a case in which class

counsel has earned the “upper limit.” For example, Briseño class counsel
litigated for years, including winning class certification, defending it on
a Rule 23(f) appeal, and defeating a certiorari petition on the subject, but


                                     28
USCA11 Case: 22-11232    Document: 19    Date Filed: 06/14/2022   Page: 47 of 72



were not entitled to negotiate a settlement with fees larger than the class
recovery. 998 F.3d 1014.

     Unlike an all-inclusive pure common fund, the settlement here
formally segregates class benefits from the attorneys’ fees to class
counsel, creating a “constructive common fund.” In re Home Depot Inc.,

Customer Data Sec. Breach Litig., 931 F.3d 1065, 1080 (11th Cir. 2019);
In re GMC Pick-Up Truck Fuel Tank Prods. Liab. Litig., 55 F.3d 768, 820
(3d Cir. 1995). Because “the adversarial process” between the settling

parties cannot safeguard “the manner in which that [settlement] amount
is allocated between the class representatives, class counsel, and
unnamed class members,” the most common settlement defects are ones

of allocation. Pampers, 724 F.3d at 717 (emphasis in original). Parties
cannot wave away allocational issues simply by structuring the
settlement as a constructive common fund with segregated fees, rather

than a traditional common fund. See, e.g., Bluetooth, 654 F.3d at 943;
Pampers, 724 F.3d at 717.
     Far from “challeng[ing]” the constructive common fund approach

(Dkt.133 at 92), Frank asked the district court to recognize that reality.
Dkt.75 at 31; Dkt.135 at 18, 20-21. But the district court committed
simple legal error by including the unclaimed amounts of the $8 million

maximum available in the calculation of the constructive common fund.
“In mathematical terms, the equation for the percentage method in
constructive common-fund cases effectively works like this: the actual


                                    29
USCA11 Case: 22-11232    Document: 19    Date Filed: 06/14/2022   Page: 48 of 72



payment to counsel is the product of (1) the percentage the court decides
to award, and (2) the payment to the class plus the expected payment

to counsel (together, the class benefit).” Home Depot, 931 F.3d at 1092
(emphasis altered); accord Pearson, 772 F.3d at 781.
     Appellees may argue that the settlement is fair here because the

plaintiffs’ claims were weak. Cf. Dkt.133 at 44-47. Perhaps the class here
was entitled only to a single peppercorn, and RB overpaid by $4 million
to settle the case. Such a settlement may satisfy Rule 23(e)(2)(C)(i), but

it is still unfair and unreasonable under Rule 23(e)(2)(C)(iii) when the
allocation provides only a small fraction of that to the class and reserves
the vast majority for the attorneys. If there is a windfall, the class is

entitled to share proportionately in it; any other result would perversely
reward attorneys more for bringing and settling meritless litigation.
“[E]ven a recognition that the substantive claims present a weak case

cannot cure a district court’s failure to apply the requisite heightened
scrutiny to a pre-certification settlement agreement.” McKinney-Drobnis
v. Oreshack, 16 F.4th 594, 609 (9th Cir. 2021). Frank is not making a

Rule 23(e)(2)(C)(i) argument that the parties must settle for $40 million
or the $8 million made available, or even a single dollar more than the $4
million or so the current settlement provides RB will pay. Rather, his

complaint goes to the unfair allocation: if RB is to settle for about $4
million, that must be fairly divided between class members and the




                                    30
USCA11 Case: 22-11232   Document: 19    Date Filed: 06/14/2022   Page: 49 of 72



attorneys, instead of the upside-down allocation where attorneys receive
about three times as much as the class.

     B.    A settlement that pays class members $1,100,000 is not
           worth the $8 million putatively “made available”; the
           district court erred under Rule 23(e)(2)(C)(ii) holding
           otherwise.
     The settling parties will likely argue that the attorney fee is not
disproportionate because the district court, relying on pre-2018-
amendment precedent, valued the settlement at the $8 million “made

available.” Dkt.133 at 84-85. This was reversible legal error.
Rule 23(e)(2)(C)(ii) requires courts to consider the effectiveness of
distributing relief to the class—the amount class members actually

receive. And Rule 23(e) has long demanded that settling parties bear
their “burden of developing a record demonstrating the settlement
distribution is fair, reasonable, and adequate.” Holmes, 706 F.2d at 1147.

Valuing a settlement at the amount made available no matter what class
members receive writes the word “effectiveness” out of (e)(2)(C)(ii) and
amounts to relieving their parties of their burden to show a fair

settlement.
     Indeed, every appellate court considering the 2018 Amendments
has repudiated the “made available” fiction. Briseño, 998 F.3d at 1024-

26; In re Samsung Top-Load Washing Machine Mktg., Sales Practices &
Prods. Liab. Litig., 997 F.3d 1077, 1094 (10th Cir. 2021). To affirm this



                                   31
USCA11 Case: 22-11232    Document: 19    Date Filed: 06/14/2022   Page: 50 of 72



settlement would be to create an inter-circuit split, something this Court
does not do “lightly.” Public Health Trust of Dade Cty., Fla. v. Lake

Aircraft, Inc., 992 F.2d 291, 295 n.4 (11th Cir. 1993).
     The district court erred in ignoring the current Rule to focus on
inapt pre-2018-amendment precedent. Dkt.133 at 90 (citing Boeing v.

Van Gemert, 444 U.S. 472, 478 (1980); Waters v. Int’l Precious Metals
Corp., 190 F.3d 1291, 1295-96 (11th Cir. 1999); and Poertner v. Gillette
Co., 618 Fed. Appx. 624, 628 (11th Cir. 2015)). But it also erred in reading

that precedent even if the amendments did not exist.
     Boeing and Waters were cases about fee disputes between class
counsel and the defendant, not about a class member’s challenge to

settlement fairness under Rule 23(e). Compromised class-action
settlements are different: “There is no fund in the present case and no
litigated judgment.” Pearson, 772 F.3d at 782 (rejecting applicability of

Boeing in Rule 23(e) inquiry). Unlike an adversarial post-judgment fee
proceeding, “the class settlement process is ‘more susceptible’…to certain
types of abuse.” Holmes, 706 F.2d at 1147 (quoting Pettway, 576 F.2d at

1169). Thus, even if Boeing and Waters permitted a disproportionate
post-judgment fee despite Rule 23(e)(2)(C), they do not consider or speak
about the Rule 23(e) fairness of a settlement where class members have

complained about indicia of self-dealing. The 2003 amendments creating
Rule 23(h) also supersede Boeing and Waters. Cf. Samuel Isaacharoff,
The Governance Problem in Aggregate Litigation, 81 FORDHAM L. REV.


                                    32
USCA11 Case: 22-11232    Document: 19    Date Filed: 06/14/2022   Page: 51 of 72



3165, 3171-72 (2013) (describing Boeing as marking an “older line of
cases” that eventually “prompted legislative rejection of compensating

lawyers on the face value of the settlement, regardless of the take-up rate
of the benefits by class members”). The Advisory Committee Notes
repeatedly instruct courts applying Rule 23(h) to examine actual results.

Notes of Advisory Committee on 2003 Amendments to Rule 23 (“it may
be appropriate to defer some portion of the fee award until actual payouts
to class members are known” (emphasis added)); id. (“fundamental focus

is the result actually achieved for class members” (emphasis added)). “In
cases involving a claims procedure …, the court should not base the
attorney fee award on the amount of money set aside to satisfy potential

claims. Rather, the fee awards should be based only on the benefits
actually delivered.” Federal Judicial Center, Manual for Complex
Litigation (Fourth) § 21.71 (2004).7


     7 Poertner affirmed a district court’s refusal to award a percentage
from a “somewhat illusory” claims fund “because the parties never
expected that Gillette would actually pay anything close to that amount.”
Poertner v. Gillette Co., No. 6:12-cv-803, 2014 WL 4162771, 2014 U.S.
Dist. LEXIS 116616, *14 (M.D. Fla. Aug. 21, 2014). Poertner does not
supporting crediting the fictional “$8 million” fund as real settlement
value. Moreover, even if it hadn’t misread Poertner, the “district court
shouldn’t simply cite to one of [this Court’s] unpublished opinions as the
basis for its decision without separately determining that it is
persuasive.” McNamara v. Gov’t Emps. Ins. Co., 30 F.4th 1055, 1061
(11th Cir. 2022).


                                    33
USCA11 Case: 22-11232    Document: 19    Date Filed: 06/14/2022   Page: 52 of 72



     Aside from the plain language of the Rule, there are good public-
policy reasons to evaluate settlements this way. The claim that potential

class benefits should be treated as identical to actual class receipts leads
to absurd results. Imagine two hypothetical settlements of the
hypothetical class action Coyote v. Acme Products:

Acme Settlement One                      Acme Settlement Two
  Acme Products mails a       One million class members have the right
  $50 check to each of        to fill out a twelve-page claim form
  one     million class       requesting detailed product and purchase
  members          who        information, with a notarized signature
  purchased mail-order        attesting to its accuracy under penalty of
  rocket skates.              perjury. Class members must personally
                              hand-deliver the claim form between the
                              hours of 7:30 and 9:30 a.m., on December
                              23, 2021, at Acme’s offices in Keokuk,
                              Iowa. Class members with valid claim
                              forms receive $100.
It should be malpractice for a class attorney to refuse Settlement One
and insist on Settlement Two. Nearly every class member, if polled,

would prefer Settlement One to Settlement Two. A defendant would
clearly prefer Settlement Two to Settlement One as far cheaper. But
under the district court’s rule of decision, Settlement Two is worth twice

as much as Settlement One, and would entitle the class attorneys to twice
as much in attorneys’ fees. This Court should reject a rule that creates
such “perverse incentives.” Barbara J. Rothstein & Thomas E. Willging,




                                    34
USCA11 Case: 22-11232    Document: 19     Date Filed: 06/14/2022   Page: 53 of 72



Managing Class Action Litigation: A Pocket Guide for Judges 13 (Federal
Judicial Center 2005); accord Pearson, 772 F.3d at 783.

     Perhaps the appellees will try to distinguish this case from the
hypothetical Acme “Settlement Two”; after all, the settlement here
permitted claimants to file claims electronically rather than hand-deliver

a notarized form. But making that argument would concede the point
that a claims process reduces the value of a settlement, and that valuing
“potential” benefits is improper without considering the likelihood that a

class member will actually obtain the benefit. If it is improper to value a
settlement by what it makes available because only 0.01% of the class
will make claims under the claims process, why is that metric

appropriate with a claims process where likely less than 5% of the class
actually made claims? There is no principled dividing line: the way to
judge the validity of a claims process—and to incentivize class counsel to

maximize what the class obtains—is to consider the amount that the
claims process will actually pay the class—the objective “effectiveness” of
that process, as Rule 23(e)(2)(C)(ii) calls it. Attorneys’ fee awards should

“directly align[] the interests of the class and its counsel.” Wal-Mart
Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 122 (2d Cir. 2005) (quotation
omitted). If settlement fairness is calculated and class counsel is entitled

to the same payment whether the claims process demands burdensome
information about the claim, or whether notice is direct or publication,
class counsel has no incentive to make the settlement more beneficial to


                                     35
USCA11 Case: 22-11232    Document: 19    Date Filed: 06/14/2022   Page: 54 of 72



the class—and will have the incentive to tacitly agree with the defendant
to throttle class recovery to maximize its own fee. Pearson, 772 F.3d

at 783, 787 (quoting Eubank, 753 F.3d at 720); accord Briseño, 997 F.3d
at 1028-29; see also In re Baby Prods. Antitrust Litig., 708 F.3d 163, 179
n.13 (3d Cir. 2013) (district court should consider actual receipts to class

to determine settlement fairness); AMERICAN LAW INSTITUTE, PRINCIPLES
OF THE LAW OF AGGREGATE LITIG.     § 3.13 (2010). Then ultimately, “[w]hen
the class attorneys succeed in reaping a golden harvest of fees in a case

involving a relatively small recovery, the judicial system and the legal
profession are disparaged.” Piambino, 757 F.2d at 1144 (cleaned up).
     Evaluating the fee award based on the effectiveness of the claims

process—the money that class members actually receive—puts those
incentives in exactly the right place. Class counsel will work hard to get
the settlement relief into their clients’ hands when they derive no benefit

from a hypothetical valuation. For example, in Baby Products, the
settling parties unsuccessfully sought to defend a settlement with a
claims process that paid less than $3 million of its $35.5 million

settlement fund to the class, arguing as here that it was too difficult to
get money to class members without fraud. 708 F.3d at 169-70. On
remand, the restructured settlement identified hundreds of thousands of

class members that it could issue checks so that there would no longer be
an eight-digit remainder. McDonough v. Toys “R” Us, 80 F. Supp. 3d 626,
643 (E.D. Pa. 2015). The remand of Pearson after the Seventh Circuit


                                    36
USCA11 Case: 22-11232     Document: 19    Date Filed: 06/14/2022   Page: 55 of 72



reversed settlement approval also resulted in a new settlement with
millions of dollars more in payments to class members. Pearson v. Target

Corp., No. 1:11-cv-07972, Dkt. 288 (N.D. Ill. Aug. 25, 2016).
      The district court committed reversible legal error in overvaluing
the settlement under both Rule 23(e)(2)(C)(ii) and common sense.

III. The injunction to replace a few words in Neuriva’s future
     marketing does not direct relief to the class, so cannot
     support final approval of the settlement.

      The purported injunctive relief to the class is neither relief, nor is
it directed to the class. The parties must demonstrate that the settlement
“secures some adequate advantage for the class.” In re Katrina Canal

Breaches Litig., 628 F.3d 185, 195 (5th Cir. 2010). Without class benefit,
an injunction cannot make an otherwise disproportionate and
inequitable settlement fair.

      By any measure, the injunction does little. For two years beginning
six months after final approval, defendants agreed to refrain from using
certain terms in their marketing and packaging: “clinically proven,”

“science proved,” and “clinically tested and shown.” Dkt.116-1 at 9.
Instead, the settlement endorses continued use of the phrase “clinically
tested” along with RB’s existing marketing that the product “fuels 6

indicators of brain health” and that Neuriva was not only clinically
tested, but specifically “clinically tested to help support brain health.” Id.
at 9 & 54. Frank advanced two distinct arguments against the value of


                                     37
USCA11 Case: 22-11232    Document: 19    Date Filed: 06/14/2022   Page: 56 of 72



the purported injunction. First, the relief does direct any benefit to the
class for their past injury. Dkt.75 at 28; Dkt.117 at 11-12; Dkt.125 at 4-

5; Dkt.135 at 10-11, 14. Separately, Frank argued that the injunction
itself would not conceivably benefit anyone because it permits the
defendants to continue creating the misleading impression that Neuriva

has been clinically tested when it has never been. Dkt.135 at 11-13;
Dkt.125 at 3-4. The district court addressed only Frank’s second
argument, concluding that the injunction was not illusory because the

term “clinically tested” (which RB will continue to use), has a different
meaning than “clinically proven.” Dkt.133 79-80.
     But the court lost sight of the most important question: whether the

injunction benefits class members who are past purchasers of Neuriva.
Again here, the district court’s failure to provide a “reasoned response”
to Frank’s argument about the purported prospective injunctive relief at

least warrants vacatur. Johnson, 975 F.3d at 1262.
     The record is clear that the injunction cannot support waiver of
class members’ claims. Prospective marketing revisions direct no relief to

class members, so cannot make a settlement extinguishing their
monetary claims fair. While an attorney general might have a state
interest in correcting misleading labelling, Rule 23(b)(3) class actions for

damages are different. Parties with actual interests at stake—the
individuals who comprise the class—are uniquely compelled to waive




                                    38
USCA11 Case: 22-11232    Document: 19    Date Filed: 06/14/2022   Page: 57 of 72



their rights for a dubious labelling benefit available equally for
everyone—class members, opt outs, and the public at large.

     A.    Prospective injunctive relief must benefit the class—
           not hypothetical future consumers, much less RB’s
           competitors.

     “The fairness of the settlement must be evaluated primarily on how
it compensates class members—not on whether it provides relief to other
people, much less on whether interferes with defendant’s marketing

plans.” Pampers, 724 F.3d at 720 (quoting Synfuel Tech., Inc. v. DHL
Express (USA), Inc., 463 F.3d 646, 654 (7th Cir. 2006)).
     The district court, which ignored Frank’s references to Pampers, did

the reverse. The district found that the injunction will allegedly put
“Neuriva products at a disadvantage with its competitors.” Dkt.133 at 79.
But bluntly, Rule 23 does not mention Neuriva’s competitors. Whatever

advantage or disadvantage the injunction might have on RB or their
competitors does not matter because none of them waive their rights
through final approval. Class members do.

     One can imagine an unambitious attorney general who claims
victory in the defendant’s temporary agreement merely to affix the label
“clinically tested” to a product that has, in fact, never been clinically

tested. But class counsel here does not represent a state or regulator, but
real clients who are the parties to the litigation. Under Rule 23, “the
concept of class actions serving a ‘private attorney general’ or other


                                    39
USCA11 Case: 22-11232    Document: 19     Date Filed: 06/14/2022   Page: 58 of 72



enforcement purpose is illegal.” S. Rep. No. 109-14, at 58-59 (2005); cf.
also Alyeska Pipeline Serv. Co. v. Wilderness Soc’y, 421 U.S. 240, 260-69

(1975) (judiciary cannot award fees on non-legislatively sanctioned
“private attorney general” model). “The civil judicial system is designed
to compensate people who have been wrongfully injured by another’s

conduct; its purpose is not to supplant the administrative and legislative
branches of government through regulation.” Victor E. Schwartz &
Christopher E. Appel, Government Regulation and Private Litigation:

The Law Should Enhance Harmony, Not War, 23 B.U. PUB. INT. L.J. 185,
198-99 (2014). Rule 23 is not a substantive bounty-hunting provision that
allows class counsel to treat the class as a free-floating entity existing

only to permit counsel to operate as a private attorney general. Rule 23
is a procedural joinder device that aggregates real individuals with real
claims into a class if certain prerequisites are satisfied. Shady Grove

Orthopedic Assocs. v. Allstate Ins. Co., 559 U.S. 393, 408 (2010).
     The Eleventh Circuit has recognized this truth for decades: “[t]he
plaintiff-class, as an entity, [is] not Lead Counsel’s client in this case.

Rather, Lead Counsel continue[s] to have responsibilities to each
individual member of the class even when negotiating.” Piambino, 757
F.2d at 1144 (internal quotation omitted). The class device works in

conjunction with the judiciary in its role of “providing relief to claimants,
in individual or class actions, who have suffered, or will imminently
suffer, actual harm.” Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036,


                                     40
USCA11 Case: 22-11232    Document: 19    Date Filed: 06/14/2022   Page: 59 of 72



1053 (2016) (Roberts, C.J., concurring) (cleaned up). Here, the settlement
does not direct injunctive relief to the class, but to future purchasers

(class members and non-class members alike) with no benefit to class
members who stopped doing business with RB.
     The waiver of class claims must be fair. That competitors or the

public at large might allegedly obtain benefit from an injunction does not
affect fairness under Rule 23 within proceedings bound by Article III
jurisdictional limits. Final approval waives the rights of class members,

who are past purchasers of Neuriva products. “Future purchasers are not
members of the class, defined as it is as consumers who have purchased
[the product].” Pearson, 772 F.3d at 786. Thus, undirected prospective

relief, like changing the defendants’ marketing cannot make a settlement
against the class fair. See also generally Erin L. Sheley & Theodore H.
Frank, Prospective Injunctive Relief and Class Settlements, 39 HARV. J.

L. & PUB. POL’Y 769, 778-80 (2016).
     A class composed of people who have done discrete business with
RB in the past is not served by prospective injunctive relief that can at

most only benefit those who do business with RB in the future. Even in
the unlikely event that the injunctions impose significant costs on RB,
that is not the measure of compensable value. The standard under

Rule 23(e) “is not how much money a company spends on purported
benefits, but the value of those benefits to the class.” Bluetooth, 654 F.3d




                                    41
USCA11 Case: 22-11232    Document: 19      Date Filed: 06/14/2022   Page: 60 of 72



at 944 (quoting In re TD Ameritrade Accountholder Litig., 266 F.R.D. 418,
423 (N.D. Cal. 2009) (Walker, J.)).

     Frank does not argue that a class may never benefit from injunctive
relief. There are many ways that injunctions direct relief to the class. For
example, a 23(b)(2) civil-rights claim may seek to change the future

behavior of a governmental body or an employer for a class of individuals
who have ongoing relationships with the defendant, like prisoners or city
residents exercising their speech rights. Consumer class action

settlements sometimes provide injunctive relief that directs relief
targeted specifically to class members. Similarly, injunctions may
provide an improved insurance-claims process or replacements for a

defective product. E.g., Faught v. Am. Home Shield Corp., 668 F.3d 1233,
1243-44 (11th Cir. 2011); Hanlon v. Chrysler Corp., 150 F.3d 1011 (9th
Cir. 1998).

     Alternatively, class actions can be settled through Rule 23(b)(2) on
behalf of consumers who buy Neuriva in the future without waiving their
retrospective damages claims. But that is not what happened here. Here,

except for the trivial number of class claimants who will receive about a
third of what their attorneys will, class members receive nothing that
any other consumer receives—the dubious benefit of RB’s substitution of

“clinically proven” with “clinically tested.”
     A couple of hypothetical consumer fraud class-action settlements
demonstrate the point. Imagine a settlement of Benes v. Kramer Non-Fat


                                      42
USCA11 Case: 22-11232    Document: 19    Date Filed: 06/14/2022   Page: 61 of 72



Yogurt, where a class sues a shop selling “non-fat yogurt” that turns out
to be full of fat. Cf. Larry David, “The Non-Fat Yogurt,” Seinfeld (NBC

Nov. 4, 1993). If the parties settled for injunctive relief under which the
defendant agreed to provide non-fat yogurt in the future, that would be
of no benefit to the class for their previous injuries—even if there

happened to be some overlap between the class members and the set of
people who purchased non-fat yogurt in the future. The class members
only benefit to the extent that they make additional purchases from the

defendant, and that benefit is presumably reflected in the price they pay
for those new purchases.
     Another example: imagine the hypothetical consumer fraud class

action Gatsby v. West Egg, where a class sues over West Egg selling
dozen-egg containers that have only ten eggs. If the parties settled with
injunctive relief that required West Egg to include at least twelve eggs in

every “dozen eggs” package, that again provides no benefit to the class
for their previous injuries, even if, once again, there happened to be some
overlap between the class members and the set of people who purchased

West Egg packages in the future.
     A real counterexample may make this principal more concrete. The
R&R cited Faught for the generic proposition that “courts should consider

changes to a defendant’s business practices” (Dkt.133 at 94,
emphasis in original). But the settlement in Faught—unlike in this case
and the hypotheticals above—provided injunctive relief specifically


                                    43
USCA11 Case: 22-11232    Document: 19    Date Filed: 06/14/2022   Page: 62 of 72



directed to class members. The class in Faught consisted of insurance
policy holders allegedly wrongfully denied claims by technicians with

financial incentives to deny claims. 668 F.3d at 1237. To remedy this, the
injunction required the defendant to accept claims resubmitted by all
past and present policy holders, to remove incentives for reviewers to

deny claims, and to set up a review board for denied claims. Id. at 1238.
Such changes direct retrospective relief specifically to class members,
even if some of the changes by chance also benefit future customers. The

settlement here is more like a hypothetical settlement enjoining an
insurance company from marketing the impartial adjusters reviewing
claims. Perhaps this could be called a public victory, but in the long run,

crediting dubious social benefits in class-action settlements would lead
to worse social results. Under the hypothetical Faught marketing
injunction settlement, the defendant would remain free to pay

technicians to deny claims as long as they change some easily-
substitutable advertising language. Requiring directed class relief
provides stronger deterrence than easily manipulated revisions to

product packaging.
     The district court misunderstood Frank’s argument on this issue,
finding the injunction “should therefore be factored into the overall

analysis of the settlement.” Dkt.133 at 4. Frank did not argue otherwise,
but simply that this injunction fails to direct relief to class members. The




                                    44
USCA11 Case: 22-11232    Document: 19      Date Filed: 06/14/2022   Page: 63 of 72



injunction here does not provide meaningful benefits, unlike Faught and
some other decisions cited by the district court.8

     The district court attempts to rationalize the injunction because
other courts declined to grant contested motions to grant injunctions
against other products, but this cannot not justify waiver of class claims

in this case. The district court tacitly acknowledges the injunction’s
infinitesimal value when it says that it “must be considered through the
lens of the ‘range of possible relief’ that Plaintiffs might have received.”

Dkt.133 at 80-81. But the risks of proceeding with litigation—one of the
Bennett factors and a query under Rule 23(e)(2)(C)(i)—are distinct from
whether the terms of a settlement are fair under Rule 23(e)(2)(C)(iii). The

settlement waives damages claim, including the claim that “each class
member paid substantially more than the market value represented by
the price bargained for.” Dkt.51 at 37. That other courts may have denied

injunctions may mean the injunctive component of the settlement
satisfies Rule 23(e)(2)(C)(i), but does not excuse the disproportion
forbidden by Rule 23(e)(2)(C)(iii).


     8 E.g., Dkt.133 at 72-73 (citing Wilson v. EverBank, No. 14-CIV-
22264, 2016 U.S. Dist. LEXIS 15751, at *14 (S.D. Fla. Feb. 3, 2016)
(enjoining defendant lender from imposing lender-placed insurance on
mortgage-paying class)); Janicijevic v. Classica Cruise Operator, Ltd.,
No. 20-cv-23223, 2021 U.S. Dist. LEXIS 95561, at *3 (S.D. Fla. May 19,
2021) (creating process for wage dispute resolution during the
pandemic)).


                                      45
USCA11 Case: 22-11232    Document: 19    Date Filed: 06/14/2022   Page: 64 of 72



     Like this case, the settlement in Pampers provided a claims process
of comparatively little realized value. 724 F.3d at 719. As here, the

settling parties tried to rationalize their fee-heavy deal based on an
injunction to add statements about preventing rash to Pampers
packaging and online. Id. at 719-20. The Sixth Circuit first observed that

the several changes required by that settlement had negligible value to
any consumer. Id. The defendant argued that every square centimeter of
their packaging was valuable to the defendant, but the Sixth Circuit

retorted that “‘The fairness of the settlement must be evaluated
primarily based on how it compensates class members’—not on whether
it provides relief to other people, much less on whether it interferes with

the defendant's marketing plans.” Id. at 720 (quoting Synfuel
Technologies, Inc. v. DHL Express (USA), Inc., 463 F.3d 646, 654 (7th Cir.
2006)).

     Similarly, in Synfuel, the Seventh Circuit rejected a settlement that
included changes to the defendant shipping company’s billing practices.
463 F.3d at 654. The Seventh Circuit found that “future customers who

are not plaintiffs in this suit [] will reap most of the benefit from these
changes.” Id. The Seventh Circuit noted that the class complaint
specifically sought money for overcharges and “the fairness of the

settlement must be evaluated primarily based on how it compensates
class members for these past injuries.” Id.




                                    46
USCA11 Case: 22-11232     Document: 19    Date Filed: 06/14/2022   Page: 65 of 72



     The injunction here is also less material than the one vacated in
Koby v. ARS Nat’l Servs., 846 F.3d 1071 (9th Cir. 2017). There, the

parties argued that a class would benefit from the modification of debt
collection practices by the defendant, but in fact the injunction “was
worthless to most class members.” 843 F.3d at 1079. As here, the Koby

injunction was not worthless to all class members. This is because the
injunction was prospective: it applied to all future debtors contacted by
the defendant, whether or not they were class members, which was “an

obvious mismatch between the injunctive relief provided and the
definition of the proposed class.” Id. A similarly obvious mismatch exists
in this case between the proposed injunctive relief benefitting at best

future purchasers of Neuriva and the class of past purchasers. The
parties must show the value to the class, not merely the value to the
general public.

     The potential label changes have no settlement value because they
in no way compensate class members for these alleged past injuries.
Because the settlement provides no directed relief to the class, it is

against the interests of unnamed class members and is not fair,
reasonable, or adequate. “There is no evidence that the relief afforded by
the settlement has any value to the class members, yet to obtain it they

had to relinquish their right to seek damages in any other class action.”
Koby, 846 F.3d at 1079.




                                     47
USCA11 Case: 22-11232    Document: 19    Date Filed: 06/14/2022   Page: 66 of 72



     Injunctive relief cannot just be free-flowing “good”; the fairness of a
settlement is determined by the benefit to the class—the putative

clients of class counsel. An open-ended social benefit—assuming any
exists—does not provide relief to class members, and thus it’s unfair to
ask them to foot the bill for such a settlement by surrendering their

rights.
     The prospective relief of labeling changes is analogous to cy pres
relief, which courts are appropriately wary of. E.g., Marek v. Lane, 571

U.S. 1003, 1006 (2013) (expressing “fundamental concerns” raised by cy
pres) (Roberts, C.J., respecting denial of certiorari). In cy pres
settlements, monetary judgments are directed to third-party charities or

other non-party beneficiaries who have not waived their rights.
Assuming without conceding that a prospective label change benefits
anyone, this presents the problem as cy pres where the actual parties

with justiciable controversies find the settlement benefit of their claims
diverted to a different, if possibly overlapping, group—those who might
purchase of examine Neuriva products in the future. Cf. Pearson, 772

F.3d at 781 (the indirect benefit of cy pres is not a benefit to the class).
Those who purchased Neuriva in the past and won’t purchase it again—
including those who feel defrauded—receive no conceivable benefit from

the injunction.




                                    48
USCA11 Case: 22-11232   Document: 19     Date Filed: 06/14/2022   Page: 67 of 72



     In short, the injunction directs no relief to the class as a whole, so
it cannot be the fair consideration for a settlement waiving their damages

claims.9

     B.    That the lawsuit precipitated an injunction is not
           enough—the injunction must be valuable to the class.

     The district court found that the “causation link” of the litigation to
the injunction “alone proves up the injunctive relief’s value under
Poertner.” Dkt.133 at 74 (citing 618 F. App’x at 629). This conclusion was


     9 Vacating the settlement approval, and thus the injunctive relief,
will not prejudice future Neuriva customers or other non-class members.
The injunction allows Neuriva to continue to market to consumers the
way named plaintiffs complained about. The exemplary packaging
attached to settlement says that Neuriva’s “ingredients are … clinically
tested to help support brain health,” an expression that only makes sense
if a consumer reads it as “tested and shown to help.” Dkt.116-1 at 54. The
term “clinically tested” can “imply there was scientific support for these
claims.” Mullins v. Direct Dig., L.L.C., 795 F.3d 654, 673 (7th Cir. 2015)
(affirming certification of class seeking to prove consumer fraud on this
basis). Nearly all of RB’s allegedly “uniformly deceptive advertising and
marketing” (Dkt.51 at 2 (¶ 6)) remain in place. RB may still claim
Neuriva is “backed by science.” Id. RB continues to tout “improved brain
performance … in the areas of Focus, Memory, Learning, Accuracy,
Concentration, and Reasoning.” Compare id. ¶ 7 with Dkt.116-1 at 54.
Neuriva packaging still says it’s “time to brain better.” Id. at 3 ¶ 8. RB
still cites the same studies in the way that the Complaint calls
“disturbingly misleading.” Id. at 3-4 ¶¶ 9-12. To the extent plaintiffs’
claims had merit, the settlement pays class attorneys $2.9 million to put
a judicial stamp of approval on the marketing.


                                    49
USCA11 Case: 22-11232    Document: 19    Date Filed: 06/14/2022   Page: 68 of 72



an error of law based on non-binding authority rather than Rule 23(e)(2),
which requires fairness between the “effectiveness of any proposed

method of distributing relief” and “attorneys’ fees.”
     The court abused its discretion and committed an error of law if it
read this Court’s unpublished Poertner decision for the proposition that

the “causation link … alone proves up the injunctive relief’s value under
Poertner.” Dkt.133 at 74 (citing 618 F. App’x at 629 and Ferron, 2021 WL
2940240, at *11). The district court erred as a matter of law because it

relied on an unpublished decision from this Court. A “district court
shouldn’t simply cite to one of our unpublished opinions as the basis for
its decision without separately determining that it is persuasive.”

McNamara v. Gov’t Emps. Ins. Co., 30 F.4th 1055, 1061 (11th Cir. 2022).
Here, the district court sometimes cites Poertner only as an example of a
settlement where certain features existed, but it erroneously appears to

treat it as controlling law on the point of causation. Dkt.133 at 74.10




     10 Even if it were controlling law, Poertner contains no categorical
presumption that litigation-derived injunctions have value. The Poertner
appellants did not preserve the argument that the injunction was
valueless and evinced inadequate representation. 618 F. App’x at 630 n.5.
An unpublished affirmance based on waiver does should not control any
outcome in this case.


                                    50
USCA11 Case: 22-11232    Document: 19     Date Filed: 06/14/2022   Page: 69 of 72



     Causation is a necessary but not sufficient requirement.11 Imagine
that a settlement were to change the typeface or color of a product’s

packaging—not every change inspired by litigation counts as a benefit.
The district court appears to understand that Poertner does not stand for
such a sweeping proposition when it also finds the injunction to be “not

merely cosmetic, nor … inconsequential.” Dkt.133 at 74. But neither
Poertner nor any other authority stands for this proposition.
     The fairness of a settlement must be benchmarked from the value

of relief to class members, and whether the relief is fair given terms such
as the attorneys’ fee request. The district court did not do this, instead
finding fees proportional to the hypothetical amount of money made

available, as discussed in Section II.
     A settlement that waives damages claims and disproportionately
benefits class counsel cannot be fair and cannot be salvaged by an

injunction that directs no marginal benefit to the class over non-class
members. When, as here, class counsel favor themselves over their
clients, a district court has a legal obligation to reject the settlement.




     11 The district court found testimony on causation “unrebutted”
(Dkt.133 at 74), but Frank had challenged it, observing that the
defendants had commissioned an expensive marketing campaign that
omitted “clinically proven” more than a year before the Settlement would
have required them to cease that marketing. Dkt.117 at 8-11.


                                     51
USCA11 Case: 22-11232   Document: 19    Date Filed: 06/14/2022   Page: 70 of 72



                             Conclusion

     The district court’s final judgment granting settlement approval
under Fed. R. Civ. Proc. 23(e) must be vacated.

Dated: June 14, 2022             Respectfully submitted,

                                 /s/ Theodore H. Frank
                                 Theodore H. Frank
                                 John M. Andren
                                 HAMILTON LINCOLN LAW INSTITUTE
                                  CENTER FOR CLASS ACTION FAIRNESS
                                 1629 K Street NW, Suite 300
                                 Washington, DC 20006
                                 Telephone: (703) 203-3848
                                 Email: ted.frank@hlli.org

                                 Attorneys for
                                      Appellant Theodore H. Frank




                                   52
USCA11 Case: 22-11232    Document: 19     Date Filed: 06/14/2022   Page: 71 of 72



                  Addendum of Statutes and Rules

Federal Rule of Civil Procedure 23. Class Actions.
(e) Settlement, Voluntary Dismissal, or Compromise.
      The claims, issues, or defenses of a certified class—or a class
proposed to be certified for purposes of settlement—may be settled,
voluntarily dismissed, or compromised only with the court’s approval.
The following procedures apply to a proposed settlement, voluntary
dismissal, or compromise:
      …
      (2) Approval of the Proposal. If the proposal would bind class
members, the court may approve it only after a hearing and only on
finding that it is fair, reasonable, and adequate after considering
whether:
      (A) the class representatives and class counsel have adequately
represented the class;
      (B) the proposal was negotiated at arm's length;
      (C) the relief provided for the class is adequate, taking into account:
      (i) the costs, risks, and delay of trial and appeal;
      (ii) the effectiveness of any proposed method of distributing relief to
the class, including the method of processing class-member claims;
      (iii) the terms of any proposed award of attorney's fees, including
timing of payment; and
      (iv) any agreement required to be identified under Rule 23(e)(3);
and
      (D) the proposal treats class members equitably relative to each
other.
      …




                                     53
USCA11 Case: 22-11232     Document: 19    Date Filed: 06/14/2022   Page: 72 of 72



                        Certificate of Compliance

     This brief complies with the type-volume limitation of Fed. R. App.
Proc. 32(a)(7)(B) because this brief contains 11,817 words, excluding the

parts of the brief exempted by 11th Cir. R. 32-4, as counted by Microsoft
Word.
     This brief complies with the typeface requirements of Fed. R. App.

Proc. 32(a)(5) and the type style requirements of Fed. R. App. 32(a)(6)
because this brief has been prepared in a proportionally spaced typeface
using Microsoft Word in 14-point Century Schoolbook font.


Executed on June 14, 2022          /s/ Theodore H. Frank
                                   Theodore H. Frank




                                     54
